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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OKLAHOMA

(1) JAMES JANIS , AND                                     §
(2) KEITH THOMAS,                                         §
                                                          §
                     Plaintiffs,                          §
                                                          §                       4:20-cv-00193-TCK-JFJ
                                                                Civil Action No.: _______________
  v.                                                      §
                                                          §
       (1) JOSEPH EARLE;                                  §
       (2) GORDAN MCDOUGALL;                              §
       (3) MARK LIVINGSTON;                               §
       (4) UPPER STREET MARKETING, INC.;                  §     JURY TRIAL DEMANDED
       (5) LINEAR PARK MARKETING INC.;                    §
       (6) GROWING SPRINGS HOLDINGS                       §
           CORPORATION; AND                               §
       (7) PRIMAPHARMA, INC,                              §
                                                          §
                     Defendants.                          §

                                               COMPLAINT

             Plaintiffs,   James Janis and Keith Thomas   (“collectively “Plaintiffs” or “Shareholders”

  or “Shareholder Plaintiffs”) bring this complaint against defendants Joseph Earle (“Earle”),

  Gordon McDougall (“McDougall”), Mark Livingston (“Livingston”), Upper Street Marketing,

  Inc. (“UPPR”), Linear Park Marketing, Inc. (“Linear Park”), Growing Springs Holdings

  Corporation (“GSHC”), (collectively “Corporate Defendants”), and PrimaPharma, Inc.

  (“PrimaPharma”); and respectfully show the following:

                                     NATURE OF DERIVATIVE ACTION

             1.      This is a shareholder derivative action brought on behalf of Nominal Defendant

  UPPR against Corporate Defendants by Plaintiffs who are, and at all times relevant hereto, UPPR

  shareholders. Plaintiffs, derivatively on behalf of UPPR, seek relief for the damages sustained, and

  that will be sustained by UPPR as a result of Corporate Defendants’ conversions, breaches of their

  fiduciary duties and Defendant Joseph Earle’s wrongful refusal of Plaintiffs’ well-grounded

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  demand on the Board of Directors pursuant to Okla. Stat. tit 18, § 1065 to inspect and make copies

  and extracts of certain books and records of UPPR.

          2.      Defendant Earle is UPPR’s Director, President and Chief Executive Officer

  (“CEO”). He obtained this position by hijacking Growing Springs, LLC and integrating it into

  UPPR for his own benefit. As alleged below, Earle has availed himself of numerous opportunities

  to exploit UPPR through egregious instances of self-dealing, misrepresentations and false

  promises resulting in convoluted transactions where UPPR is robbed of its assets through transfers

  to a different Earle controlled entity. UPPR represented and promised millions of dollars in new

  business to run up the value of its stock. Insider stock sell offs occurred just as UPPR was being

  sold to one shell company after another, using as consideration worthless shares of UPPR’s stock.

  Earle is not only the President and CEO of UPPR, but also the CEO of Growing Springs Holding

  Corporation, an acquiring entity of UPPR and the CEO of Linear Park. The record and schematic

  pattern in this regard is clear.

          3.      Defendant Earle willfully disregarded his responsibilities to UPPR shareholders

  and permitted UPPR to function without sufficient internal controls, even after the SEC suspended

  trading on shares of UPPR. As a result of these deficiencies, UPPR: (i) suffered material losses,

  (ii) was exposed to substantial risk, (iii) was suspended by the SEC, (iv) was forced to enter into

  financial arrangements simply to remain viable from a position of weakness, and (v) lost potential

  revenue.

          4.      Moreover, UPPR’s reputation and goodwill has been irreparably damaged by the

  malfeasance and mismanagement of Earle. As a result of Earle’s failure to deliver documents to

  Plaintiffs, his securities fraud, corporate waste, breaches of fiduciary duties, misrepresentations,

  and conversion, UPPR has suffered and stands to continue suffering harm.



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                                            THE PARTIES

         5.      Plaintiff Keith Thomas, an individual, is a current shareholder of UPPR and is a

  resident of the state of Georgia.

         6.      Plaintiff James Janis, an individual, is a former employee and current shareholder

  of UPPR and is a resident of the state of Colorado.

         7.      Defendant Joseph Earle, an individual, is a resident of the state of California in the

  City of San Diego.

         8.      Defendant Gordon McDougall, an individual, is a resident of the city of Vancouver,

  Canada.

         9.      Defendant Mark Livingston, an individual, is a resident of the state of California,

  in the City of San Diego.

         10.     Nominal Defendant Upper Street Marketing, Inc. is an Oklahoma corporation that

  is registered to do business in California but is currently suspended in the state of Oklahoma due

  to its lack of compliance with certain Oklahoma tax requirements.

         11.     Defendant Linear Park Marketing Inc. is a Nevada corporation having its principal

  place of business located in Arizona.

         12.     Defendant Growing Springs Holdings Corporation is a Nevada corporation

  registered to do business in Colorado and having its principal office in California and principal

  office mailing address in Colorado.

         13.     Defendant PrimaPharma, Inc. is a California corporation having its principal place

  of business located in San Diego, California.




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                                   JURISDICTION AND VENUE

          14.     Pursuant to 28 U.S.C. § § 1331 and Section 27 of the Securities Exchange Act of

  1934 (“Exchange Act”), 15 U.S.C. §§ 78aa, this Court has jurisdiction over the claims asserted

  herein for breach of fiduciary duty premised upon duties imposed and defined by federal law,

  including the Exchange Act, 15 U.S.C. § 78u-4(f). This Court has supplemental jurisdiction over

  the remaining claims under 28 U.S.C. § 1367. Further, the amount in dispute in this case far

  exceeds the jurisdictional requirements of this court, excluding interest and costs.

          15.        Venue is proper in this Court under 28 U.S.C. § 139(a)(1) because defendant

  Upper Street Marketing, Inc. is an Oklahoma corporation.

          16.     Pursuant to FED. R. CIV. P. 23.1, to the extent that this action is brought derivatively,

  it is averred that this action is not brought collusively to confer jurisdiction on a court of the United

  States it otherwise would not have. Furthermore, Plaintiffs have been unable to communicate with

  the director of the nominal defendant, Upper Street Marketing, Inc, because the director refuses to

  respond to any requests or attempts at communication from the Shareholder Plaintiffs.

                                            FACTUAL BACKGROUND

                A. EARLE’S FRAUDULENT PLAN EMERGES

          17.     On or about January 3, 2014, Upper Street Marketing, Inc. was formed by Gordon

  McDougall and incorporated under the laws of the State of Oklahoma. UPPR currently claims that

  it pursues opportunities in the Hemp and CBD markets.

          18.     On or about September 20, 2017, Growing Springs, LLC (“Growing Springs”) was

  formed under the laws of Nevada by Aziz Patel. Its purpose was to participate in providing water

  treatment technology to hemp and cannabis growers.

          19.     In February 20, 2018, Earle was hired by Growing Springs.



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         20.     Sometime after being hired by Growing Springs, Earle, through misrepresentation

  and misinformation, forced Aziz Patel to relinquish his position with the company to Earle. Then

  Earle developed a multi-part scheme (i) for his company, Growing Springs Holding Corporation

  (“Holding Corp.”), to acquire Growing Springs, which then became a wholly-owned subsidiary of

  Holding Corporation and (ii) to have UPPR, a publicly traded shell company, acquire Holding

  Corp. In so doing, Earle, through misrepresentations and manipulations, deceived the owners of

  Growing Springs, and effectively perpetrated a theft of their company when his company, Holding

  Corp., acquired Growing Springs, which he then used to acquire control of UPPR for his benefit

  (“Holding Corp. Transaction”). Until the second part of Earle’s scheme had been consummated,

  Holding Corp. was solely owned by Earle, who also served and continues to serve as its President,

  Secretary, Treasurer and Director.

         21.     On or about July 12, 2019, shortly after the Holding Corp. Transaction, Earle fired

  Aziz by calling Noorani Burstein, Aziz’s mother, to tell her Aziz was fired and threatened his

  arrest if he appeared on Growing Springs property.

         22.     The Holding Corp. Transaction was accomplished surreptitiously, not recorded in

  writing and through a trade of worthless shares in UPPR offered as consideration.

         23.     On October 2, 2018, Earle was appointed as Director and President and Chief

  Executive Officer of UPPR. In or around this same time, Earle also became the CEO of Growing

  Springs Holding Corporation.

         24.     In 2019, Earle, in his capacity as Chief Executive Officer of UPPR, devised a

  scheme to defraud potential investors. Earle proceeded to collect $6 million from investors by

  promising that UPPR would obtain a warehouse in Center, Colorado, would grow 1,200 acres of

  hemp, would acquire five industrial extractors, would raise institutional investment, would acquire



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  PrimaPharma, of which Mark Livingston is Chief Executive Officer, would have gross sales in

  excess of $100 million, and would dramatically increase shareholder value.

            25.   Earle hired a third-party vendor called Project Growth owned by Stephen Bryant to

  raise money for UPPR, who then enticed investors based on false and misleading statements from

  UPPR and without current financial statements to support his statements. Bryant perpetuated

  Earle’s scheme when he continued to trade in UPPR stock despite certain SEC restrictions imposed

  in June 2019.

            26.   Currently, Earle allegedly owns 35 million shares of UPPR common stock and 10

  million common stock purchase warrants for a total, if the warrants are exercised, of 45 million

  shares of common stock, making Earle the largest shareholder of UPPR. See Exhibit A, attached

  hereto, Upper Street Marketing Inc. and Joseph Earle, Shareholder v. United States Securities and

  Exchange Commission, Petition of Upper Street Marketing Inc. and Joseph Earle, Affidavit of

  Joseph Earle p. 4 at ¶ 15.

            27.   On April 18, 2019, Earle claimed in a press release that UPPR had formed a

  “strategic partnership” with Catch Capital Partners, Inc. “to jointly develop cannabis and hemp

  production and extraction in Canada.” On May 16, 2019, in a subsequent press release, Earle

  boasted that “UPPR embarked on an ambitious plan in 2018 to become the first and likely the

  largest cGMP CBD producer and marketing company in the United States.” So far UPPR has

  produced no CBD. This “strategic partnership” cost UPPR 5 million shares of common stock and

  has resulted in no extraction of cannabis, hemp, or CBD whatsoever. See Exhibit B, attached

  hereto.

            28.   Sometime in or about May 2019, UPPR, under Earle’s control, entered into a

  contract to purchase a warehouse in Center, Colorado, to be financed by, among other things, two



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  promissory notes - the first, a Senior Secured Fixed Convertible Promissory Note in the initial

  principal sum of $550,000 in favor of a fund called Harbor Gates Capital, LLC, and the other,

  subordinated to the Harbor Gates Capital note, in the initial principal sum of $687,000 in favor of

  UPPR’s hemp farmer, Roger Christianson. Both notes have been in default since at least early

  October 2019.

         29.      In a press release it issued on or about May 28, 2019, UPPR claimed it had entered

  into an agreement (“Fox Agreement”) with Fox Organic Farms (“Fox Farms”) where it secured

  1.5 million pounds of hemp for cannabidiol (“CBD”) extraction. See Exhibit C, attached hereto.

         30.      UPPR claimed the CBD isolates and distillates from the hemp in the transaction

  would have a value of “approximately $200 Million.” To date, UPPR has not received even one

  dollar of revenue from the CBD in this agreement.

         31.      UPPR continued to pump up market enthusiasm for its non-existent business

  activities. On June 5, 2019, UPPR made a corporate presentation at the 9th Annual LD Micro

  Invitational, which is a resource for the microcap stocks in North America with a market cap

  between $50 million and $300 million.

         32.      At the LD Micro conference, UPPR made the following false claims, inter alia:

     a. UPPR owns and operates a 100,000 square foot facility for processing CBD from hemp in

         Center, CO;

     b. UPPR has leased a 12,000 [square foot] licensed CBD laboratory processing facility in San

         Diego, CA;

     c. “Growing Springs has secured proprietary and unique AAA cannabis and hemp genetics”;

         and




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     d. UPPR reduces or eliminates agricultural run-off. See attached Exhibit M, PowerPoint

         pages 6 &11).

  Regarding the statements – in (a), the “processing” facility was in actuality an empty warehouse

  with no extraction equipment; in (b), the facility in San Diego was also an empty building with no

  equipment; in (c), UPPR does not and never has owned proprietary genetic stock or seeds; and in

  (d), UPPR does not have the capability to reduce or eliminate agricultural run-off.

         33.     On or about June 18, 2019, UPPR claimed to have “planted its first 1,200 acre hemp

  cultivation for which UPPR projected a $200 million revenue stream.” The crop was supposed to

  have been ready for harvest 16 weeks later, i.e., by October 8, 2019. In reality, the size of the

  acreage was only 1,170 with only 270 acres of harvest solely owned by UPPR. Nine hundred acres

  were leased by Fox Farms under the Fox Agreement with UPPR, based upon extraction totals. To

  date, no extraction has occurred, and Fox Farms has never been paid for its harvest.

         34.     Mismanagement, over-payment to the harvesters, misrepresentations of the

  harvester’s capabilities and lack of supply chain to move and properly process the hemp resulted

  in a loss on this harvest. The $200 million revenue stream never happened.

         35.     On or about June 24, 2019, according to a UPPR press release issued by Earle,

  UPPR finalized a multi-million dollar equipment order to acquire “state-of-the-art extraction

  systems from ICC Group (https://www.icc-inc.net) [(“ICC”)] designed to process up to 2 million

  pounds of raw hemp biomass a year into 120,000 liters of crude cannabidiol (CBD) free from

  psychoactive contaminants.” According to Earle, “Executing this agreement puts us on track to

  start converting raw hemp into CBD distillates and concentrates within the next 120 days.” See

  Exhibit D, attached hereto.




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         36.     The transaction was never completed. Because of a lack of available financing,

  UPPR failed to make the purchase of the “state-of-the-art extraction systems” from ICC, and 120

  days after the press release, i.e., by October 22, UPPR still had no equipment to process the hemp

  and had extracted no CBD distillates and concentrates.

         37.     By June 26, 2019, all investors, including Plaintiffs, had raised approximately five

  million dollars ($5,000,000) for UPPR.

         38.     On or about June 26, 2019, UPPR issued another fraudulent press release. First it

  claimed that it had a “1,200-acre hemp crop in the ground and moving toward harvest.” It claimed

  it would purchase three million dollars ($3,000,000) of additional grow equipment from Fox Farms

  in exchange for common shares in UPPR to the seller. This grow equipment included 100,000

  watts of greenhouse lighting capacity supposedly allowing for seed and transplant production

  during the winter thereby allegedly increasing 2020 revenue projections to fifteen million dollars

  ($15,000,000). See Exhibit E, attached hereto.

         39.     In the same June 26, 2019 press release, Earle on behalf of UPPR proclaimed:

  “‘Adding a winter cultivation to our calendar further expands our hemp business model and

  extends our 2020 revenue projections by at least $15 million,’ said UPPR CEO Joseph Earle. ‘If

  you were wondering what we would be doing after our projected first $200 million harvest at the

  end of the third quarter, this is it.’” This statement was false. In reality, the equipment was not

  winter growing equipment.

         40.     On June 27, 2019, the Securities and Exchange Commission issued a Suspension

  Order that suspended trading in UPPR’s common stock between “9:30 a.m. EDT, on June 28,

  2019, through 11:59 p.m. EDT, on July 12, 2019” (“SEC Suspension Order”) because of:

         questions about the accuracy and adequacy of information publicly disseminated
         concerning UPPR, including, among other things: (1) public statements by UPPR

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           dated May 8, 2019 and May 23, 2019 concerning $10.55 million worth of purported
           financing for UPPR; (2) public statements by UPPR dated April 30, 2019 and May
           23, 2019 denying its retention of an investor relations firm despite apparent possible
           promotional activity on behalf of UPPR; and (3) inadequate statements, since at
           least November 2018, concerning a possible private offering of at least $3 million
           dollars [sic] in UPPR’s common stock.

   The SEC Suspension Order was entered pursuant to Section 12(k) of the Exchange Act. See

   Exhibit F, attached hereto, Securities Exchange Act of 1934, Release No. 34-86228 / June 27,

   2019.

           41.    In or around this same time, OTC Markets Group Inc. (“OTC Markets”) announced

   that it had discontinued to display bid and asked quotes of UPPR’s common shares and had labeled

   UPPR “Caveat Emptor” (“buyer beware”).




   OTC Markets designates certain securities as Caveat Emptor and places a skull and crossbones

   icon next to the stock symbol to inform investors that “[t]here is a public interest concern

   associated with the company, which may include a spam campaign, questionable stock promotion,

   known investigation of fraudulent activity committed by the company or insiders, regulatory

   suspensions, or disruptive corporate actions.” See Exhibit G, attached hereto.

           42.    Unfortunately, this warning came too late for the Plaintiffs.

           43.    UPPR attempted to address the inaccurate and inadequate information as referenced

   in the SEC Suspension Order as cited in ¶ 39. The suspension expired and UPPR’s trading resumed




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   on the Gray Market only, but OTC Markets did not reinstate quotations of UPPR’s common stock

   on the “Pink Sheets” or remove the Caveat Emptor warning.

          44.     Because of the SEC Suspension Order, UPPR never acquired any equipment from

   Fox Farms. Fox Farms kept its seed and clone equipment upon the publication of the SEC

   Suspension Order. At this time, the shares of UPPR common stock that were to have been issued

   to Fox Farms became valueless. Again, mismanagement at UPPR resulted in lost potential

   revenue.

          45.     Upon information and belief, UPPR’s attempted “transaction” with Fox Farms was

   memorialized in a non-binding agreement.       Fox Farms owned 500,000 pounds of biomass

   produced from 900 acres of hemp. All that UPPR would own would be the extracted CBD

   distillates and concentrates, of which Fox Farms would receive its 50% share of revenue upon sale

   of the extracted product. Since no extraction has occurred, Fox Farms, upon information and

   belief, is seeking another extraction company for its 500,000 pounds of biomass.

          46.     Neither of the potential transactions between UPPR and Fox Farms was divulged

   to the shareholders of UPPR.

                B. UPPR CONTINUES TO ATTEMPT TO ENTER INTO FRAUDULENT TRANSACTIONS

          47.     On or about July 8, 2019, UPPR announced that it signed a Letter of Intent to

   acquire an 80% interest in the FDA-licensed pharmaceutical manufacturer, PrimaPharma, to

   oversee and enforce hemp and CBD manufacturing standards. UPPR made the announcement that

   UPPR would acquire PrimaPharma for three million dollars ($3,000,000). This acquisition never

   closed due to UPPR’s lack of success and inability to raise the money to purchase PrimaPharma.

   See Exhibit H, attached hereto.




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          48.     In anticipation of the acquisition of PrimaPharma, UPPR rented a 13,000 square

   foot laboratory and manufacturing facility next to PrimaPharma in San Diego for $15,000 per

   month to use for producing CBD isolates and distillates. This facility has not been utilized by

   UPPR, and remains empty as of the filing of this Complaint.

          49.     On or about July 8, 2019, upon information and belief, an individual or entity sold

   800,000 shares of UPPR’s common stock when the stock was quoted at $2 per share. These UPPR

   shareholders controlled shares of unrestricted common stock obtained from previous persons

   associated with UPPR when it was a shell company. This sale transaction was part of a “pump and

   dump” transaction. The press releases constituted the “pump” and the sale transactions constituted

   the “dump,” which reduced the quoted value of shares of UPPR common stock for all of the other

   shareholders from $2 per share to approximately $1.20 per share.

          50.     In August of 2019 Earle negotiated a transaction to purchase five industrial

   extractors from ICC. Earle paid for the transaction with a $1,500,000 deposit on August 1, 2019

   and a $3,300.000 million loan that supposedly was to be provided by NFS group, an equipment

   finance company. ICC ultimately financed the purchase transaction in December but not through

   NFS. The specific details of this transaction were not shared with the UPPR shareholders. The five

   industrial extractors were never delivered. It is unclear what happened to the $1,500,000 deposit

   or to the five apparently undelivered industrial extractors. Despite the fact that the extractors were

   never delivered, UPPR, upon information and belief, is being invoiced by ICC for approximately

   $50,000 per month.

          51.     On or about September 17, 2019, a shareholder traveled to Center, Colorado to

   inspect the fields of the first hemp harvest and discovered that Earle’s crop planting was a disaster.




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   Earle was in charge of all aspects of UPPR’s planting and had implemented substandard farming

   practices.

             52.   Earle chose to plant a combination of both male and female seeds, which yielded a

   smaller crop with a lesser CBD count than would have been possible had he chosen to plant only

   female seeds.

             53.   Additionally, harvesting a hemp crop is labor-intensive. It involves manual labor

   with individuals cutting each plant by hand. To further cut expenses, Earle chose to harvest the

   crop with a machine, hurting the crop and its potency. Because of Earle’s lack of due diligence in

   learning proper hemp farming techniques, UPPR’s shareholders sustained millions of dollars in

   losses.

             54.   On September 21, 2019, in a “shareholder meeting” produced on YouTube, Earle

   asked the UPPR shareholders for $700,000 to complete the harvest. Earle claimed he had to pay a

   vendor referred by Fox Farms. However, the vendor, Harvest Right LLC, only charged

   approximately $450,000 to complete the harvest or $1500 per acre for a custom harvest of 270

   acres of hemp. The Plaintiffs received no information about what was done with the extra

   $250,000. See http://upperstreetmarketing.com/2019/09/30/investor-report-with-joseph-earle/.

             55.   On or about November 26, 2019, UPPR falsely announced it had harvested 2

   million pounds of biomass, which would be stored in its warehouse in Center, CO. UPPR’s

   farmers only harvested approximately 800,000 pounds of biomass, of which only 300,000 pounds

   were owned, unencumbered, by UPPR. See Exhibit I, attached hereto.

             56.   On or about December 9, 2019, UPPR claimed it had completed the ICC

   transaction, whereby it was to acquire five “hemp biomass extraction modules” that supposedly

   were able to extract CBD from hemp. UPPR claimed that “financing has been successfully



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   completed.” The modules were supposed to be “in action within 3-4 weeks of delivery.”

   Originally, the modules were to be delivered in or around October or November 2019; but because

   financing was not arranged in time, the delivery of the modules was delayed to April 2020 and has

   continued to be delayed. Upon information and belief, none of the modules has been delivered.

   See Exhibit J, attached hereto.

          57.     The biomass, a perishable good, remains in storage and unprocessed. The biomass

   loses 1% of its potency each month it remains in storage and unprocessed. This loss of potency

   results in lost revenue for UPPR each month.

                C. UPPR PURPORTS TO SELL ALL OF ITS ASSETS               TO   LINEAR PARK, LEAVING
                   UPPR SHAREHOLDERS WITH NO VALUE


          58.     On February 6, 2020, Earle furthered his plan to swindle the shareholders of UPPR.

   Since trading in UPPR shares of common stock on the over-the-counter market had been

   suspended by virtue of the SEC Suspension Order, Earle needed another shell company to continue

   his fraudulent scheme.

          59.     Without prior announcement to UPPR’s shareholders, Earle entered into a letter of

   intent (and, upon information and belief, a definitive agreement) with Linear Park for it to acquire

   the purported assets and certain stated (but not yet disclosed to UPPR’s shareholders) liabilities of

   UPPR for shares of capital stock of Linear Park (the “Linear Park Transaction”), of which Earle is

   Chief Executive Officer.

          60.     Upon information and belief, Linear Park is a shell company without any material

   assets. If the pending Linear Park Transaction with UPPR were to be consummated, Linear Park

   would acquire the purported assets and certain stated liabilities of UPPR and UPPR would be

   issued certain shares of Linear Park’s capital stock, the amount of which has not yet been disclosed

   to UPPR’s shareholders.

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              61.      If the pending Linear Park Transaction were to be consummated, the status of the

   UPPR shareholder ownership would change from UPPR shareholders owning all of the capital

   stock of UPPR (an enterprise that Earle asserts “plan on being able to grow and process up to

   1,000,000 pounds of bio-mass in 2019…generat[ing] up to a target of $60,000,000 of revenues1”)

   to, upon information and belief, the UPPR shareholders owning a diluted interest in Linear Park,

   whose only assets would be the self-same purported assets that UPPR claimed to own immediately

   prior to the consummation of the pending Linear Park Transaction.

              62.      The next step in Earle’s scheme was to cause Linear Park to enter into a transaction

   with Dynamo Capital Corp. (“Dynamo”), a company, whose common shares are traded on the

   Canadian TSX Venture Exchange. Dynamo describes itself as “. . . a capital pool company created

   to identify and evaluate potential acquisitions of commercially viable businesses and assets that

   have the potential to generate profits and add shareholder value. Except as specifically

   contemplated in the CPC policy of the exchange, until the completion of its qualifying transaction,

   Dynamo will not carry on business, other than the identification and evaluation of companies,

   businesses or assets with a view to completing a proposed qualifying transaction.” This announced

   potential transaction constitutes Earle’s attempt to evade the trading restrictions that resulted from

   the SEC Suspension Order that suspended public trading of UPPR’s common stock. See Exhibit

   L, attached hereto.

              63.      At the same time that the Linear Park Transaction was being announced, UPPR

   also entered into an agreement with Victory Americas Group, LLC (“Victory”) to process the

   hemp biomass into CBD Distillate and pay UPPR from the sale of the distillate, but upon

   information and belief, no processing of the biomass has occurred.



   1
       See http://upperstreetmarketing.com/investors/, visited on May 4, 2019 at 5:45 p.m. CST.

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          64.     To date, Earle’s scheme to swindle the assets of UPPR has caused trading in

   UPPR’s common stock to be suspended by the SEC due to its concerns regarding the adequacy

   and accuracy of Earle’s publicly released statements regarding UPPR and his inability to resolve

   these issues with the SEC.

          65.     Earle failed to raise sufficient investment for UPPR due to his incompetence.

          66.     Earle failed to generate any significant sales from UPPR’s biomass which remains

   stored in a warehouse since November 2019.

          67.     UPPR, under Earle’s leadership, failed to acquire PrimaPharma as promised.

          68.     Earle caused trading in UPPR’s common stock to be suspended due to the SEC’s

   concerns regarding the adequacy and accuracy of his publicly released statements regarding UPPR

   and his inability to resolve these issues with the SEC.

          69.     UPPR, under Earle’s management, defaulted on the promissory notes to purchase

   the Center, Colorado warehouse.

          70.     UPPR, under Earle’s management, defaulted on a $250,000 promissory note to Soil

   Solutions, Ltd. owned by David Max Powers.

          71.     UPPR, under Earle’s management, defaulted on a $25,000 promissory note to

   Black Swamp AG Inc. owned by Scott Apple.

          72.     Now, in order to escape UPPR’s debt that Earle generated and his lack of success

   in operating UPPR and his violation of his fiduciary duties to UPPR’s shareholders, Earle and

   Livingston (i) entered into the pending Linear Park Transaction scheme, to be followed by (ii)

   Linear Park’s pending acquisition of PrimaPharma, which would be followed by (iii) the resulting

   UPPR/Linear Park/PrimaPharma company entering into a non-arm’s-length transaction with a

   Canadian “Capital Pool Company” (i.e., a shell company) that was traded on the Canadian Stock



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   Exchange, the Toronto Stock Exchange, or, in the current case of Dynamo, on the TSX Venture

   Exchange.

          73.     On April 2, 2020, Noorani Burstein, as an UPPR shareholder, issued a demand

   letter under OKLA. STAT., tit. 18, § 1065 to UPPR (the “Demand Letter”). See Exhibit K, attached

   hereto. The Demand Letter delineates her concerns as a UPPR shareholder (noting that this is not

   an exhaustive list), as follows:

                a. UPPR has not held a shareholders meeting in the past year, if ever;

                b. UPPR has not updated its OTC Markets information since July 12, 2019; and

                c. UPPR may have initiated, entered or closed various material transactions.

          74.     Noorani on behalf of the shareholders demanded the following:

                a. that UPPR and its management permit exercise of statutory inspection and copying

                   of:

                          i. UPPR’s stock ledger, list of shareholders, books and records;

                         ii. the books and records of UPPR’s wholly owned subsidiary, Growing

                             Springs Holding Corporation; and

                         iii. the books and records of any other unnamed wholly owned or majority

                             owned consolidated subsidiaries.

          75.     The Demand Letter required a response on April 10, 2020 according to OKLA.

   STAT. tit. 18, § 1065(C).

          76.     Despite receiving a vitriolic letter in response, none of the shareholders, nor the

   Plaintiffs have received access to any records from UPPR or the other subsidiaries.




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                                                  CAUSES OF ACTION

       A. FAILURE TO DELIVER DOCUMENTS

           77.     Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           78.     This is a cause of action brought pursuant to OKLA. STAT. tit 18, § 1065 (“Section

   1065”) to enforce Plaintiff’s statutory right to inspect and make copies and extracts of certain

   books and records of defendant UPPR.

           79.     Plaintiffs are shareholders of defendant UPPR. As set forth above, Plaintiffs

   initiated a Section 1065 request on UPPR for certain books and records regarding the financial

   records of UPPR and its subsidiaries or sister companies.

           80.     Defendant Earle has not allowed the shareholders access to the records.

       B. MANDATORY PRELIMINARY INJUNCTION

           81.     Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           82.     UPPR has never held any shareholders meetings and no date has been designated

   for the next annual meeting. There has never been a written consent to elect directors in lieu of an

   annual meeting by shareholders.

           83.     Plaintiffs request that the Court enter a mandatory preliminary injunction forcing a

   shareholder meeting to allow the shareholders to appoint new directors and officers, because

   Plaintiffs have a substantial likelihood of success on the merits, irreparable injury will result if

   such relief is not granted, the injury to Plaintiffs far outweighs any injury to Defendants, and the

   injunction is not contrary to public policy.




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           84.      Pursuant to OKLA. STAT. tit. 18, § 1056(c), Plaintiffs respectfully request that the

   Court enter a mandatory injunction against Defendants, summarily ordering a meeting of

   shareholders to be held, the record date for determining the shareholders entitled to vote and the

   form of notice of the meeting.

       C. ACCOUNTING

           85.      Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           86.      Plaintiffs continually attempted to inspect the books and records of UPPR since

   July 2019, and as recent as February 2020. At that time, Plaintiffs requested complete access to

   all of the corporate books and records but were denied such access by Defendant Earle or agents

   of Earle.

           87.      Plaintiffs request that the Court order an accounting of the business, finances, and

   transactions affecting UPPR and allow Plaintiffs to inspect the books and records of the other

   Defendant companies.

       D. SECURITIES FRAUD

                 a. SECURITIES ACT SECTION 12(1)

           88.      Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           89.      Pursuant to representations made by Defendant Earle, Plaintiffs invested substantial

   sums of money into shares of UPPR expecting to receive a reasonable return on their investments.

           90.      The acts described herein involved the purchase and sale of (securities) within the

   meaning of Section 12(1) of the Securities Act and Section 3(a)(10) of the Exchange act by means

   of oral communications, by the use of the mails, and by the use of the means and instrumentalities



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   of interstate commerce. Because UPPR is an Oklahoma corporation, the sales of these securities

   occurred in Oklahoma.

           91.      Defendants Earle and UPPR participated in the offer and sale of these securities.

           92.      Earle, with intent to induce Plaintiffs to purchase shares of UPPR, made false and

   misleading statements and is a primary violator of the actions complained of in this count.

           93.      The securities offered and sold by Defendants Earle and UPPR to Plaintiffs were

   offered and sold by Earle in violation of Section 12(1) of the Securities Act.

           94.      Plaintiffs have been required to employ an attorney to prosecute this action and are

   entitled to recover damages and attorney’s fees and costs.

                 b. SECURITIES ACT SECTION 12(2)

           95.      Defendants Earle and UPPR engaged in manipulative activities and fraudulent

   courses of conduct in regard of their sale of securities to Plaintiffs.

           96.      The foregoing misrepresentations and omissions concern material facts which were

   made in or omitted from oral communications from Defendants Earle and UPPR to Plaintiffs in

   connection with the purchase of securities from Defendants Earle and UPPR.

           97.      At the time Plaintiffs purchased securities from Defendants Earle and UPPR,

   Plaintiffs did not know the untruth of the facts misstated. Therefore, Defendants Earle and UPPR

   violated Section 12(2) of the Securities Act in connection with their sale of these securities to the

   Plaintiffs.

           98.      Plaintiffs are entitled to damages in excess of $75,000, interest and reasonable

   attorney’s fees and costs for the violation of Section 12(2) of the Securities Act.

       E. REPLACEMENT OF MANAGEMENT




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           99.     Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           100.    As noted in Cause of Action A, there have been no shareholder meetings nor have

   shareholders been allowed to view UPPR financial books and records. As such, Plaintiffs and other

   shareholders request the Court to allow the shareholders to appoint new directors and new officers.

           101.    UPPR has not filed with OTC Markets any annual or quarterly reports in connection

   with OTC Markets’ Alternative Reporting Standards (collectively, “UPPR’s Delinquent OTC

   Markets Reports”).

           102.    Because of the SEC Suspension Order, upon information and belief, FINRA will

   not currently permit any broker-dealer to provide bid or ask quotations for UPPR’s Common

   Stock; and OTC Markets will not report any quotes for trading in UPPR’s Common Stock, even

   if such trades were to occur on the “Grey Market” or the “Expert Market.” Following the release

   of the SEC Suspension Order, in order for a broker-dealer to provide bid or ask quotations for

   UPPR’s Common Stock, such broker-dealer must successfully prosecute a Form 211 filing with

   FINRA.

           103.    Upon information and belief, FINRA will not approve any Form 211 filings unless

   and until UPPR has filed all of UPPR’s Delinquent OTC Markets Reports and the SEC

   investigation against UPPR (although not necessarily against Earle) has been concluded. With the

   appointment of new officers and directors of UPPR and the filing of UPPR’s Delinquent OTC

   Markets Reports, the SEC should conclude its proceedings against UPPR, which should permit a

   broker-dealer to obtain FINRA’s approval of the requisite Form 211 and should cause OTC

   Markets to remove the “caveat emptor” designation of UPPR’s Common Stock.




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       F. CORPORATE WASTE

           104.    Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           105.    Earle committed waste when he allotted UPPR funds for substandard farming and

   when UPPR was charged exceedingly high costs for the poor farming and harvest of the hemp.

           106.    Earle continued committing waste and self-dealing when he transferred all of

   UPPR’s assets for no or little consideration into Linear Park, a company of which he is a

   shareholder. This transfer further diluted the value of UPPR and provided no benefit to UPPR and

   its shareholders.

           107.    As a result of the corporate waste alleged above, Earle is liable to Plaintiffs for

   damages.

       G. BREACH OF FIDUCIARY DUTY

           108.    Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           109.    Earle owed and continues to owe Plaintiffs the duties of good faith, loyalty, due

   care and candor in the management, administration, and oversight of UPPR’s business and affairs.

           110.    The conduct of Earle, as set forth herein, was due to his intentional, knowing or

   reckless disregard of the fiduciary duties owed to the Plaintiffs.

           111.    Earle breached his fiduciary duties by willfully participating in and causing UPPR

   to unnecessarily waste corporate funds and failing to properly oversee UPPR’s business and affairs

   which renders him personally liable to the Plaintiffs. Further, by his breaches of fiduciary duties,

   Earle has subjected UPPR to substantial civil and regulatory liability.




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            112.   As a direct and proximate result of Earle’s breaches of fiduciary duties, UPPR has

   experienced and will continue to experience significant harm. As a result of the wrongdoing

   alleged herein, Earle is liable to Plaintiffs.

       H. NEGLIGENT MISREPRESENTATION

            113.    Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

            114.   Corporate Defendants made negligent misrepresentations to Plaintiffs as delineated

   above.

            115.   As a result of Corporate Defendant’s negligent misrepresentations, Plaintiffs

   suffered damages in excess of $75,000.

       I. VIOLATION OF OKLAHOMA SECURITIES ACT – OKLA. STAT. tit. 71, § 1-501

            116.    Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

            117.   The actions of Earle in the offer and sale of securities to Plaintiffs were violative of

   the Oklahoma Securities Act.

            118.   Earle violated certain provisions of the Oklahoma Securities Act, including OKLA.

   STAT. tit. 71, § 1-501 et al., as a result of schemes and artifices to defraud Plaintiffs by making

   untrue statements, omitting material facts, and engaging in acts practiced in the course of business

   which operated as fraud and deceit upon Plaintiffs.

            119.   Pursuant to the Oklahoma Securities Act, Plaintiffs hereby tender any interest in

   the bank instrument or other securities to Earle, if the same exist, and Plaintiffs are entitled to

   recover the sum of not less than $75,000 with interest on such amount.




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           120.    Earle made multiple material, false representations and their actions were deceitful

   to Plaintiff. Earle was aware he was misstating material facts and omitting to state material facts

   to Plaintiffs. Further, Earle knew, or should have known, the Plaintiffs would rely on these

   representations.

           121.    Plaintiffs expressly relied upon misrepresentations of Earle and the actions of Earle

   to Plaintiffs constituted fraud.

           122.    The deceit and fraud perpetrated by Earle upon Plaintiffs was knowingly and

   willfully done by Earle with total disregard to the rights of Plaintiffs, who relied upon these

   misrepresentations.

           123.    Earle’s conduct offends public policy and is unfair and involves practices which

   are immoral, unethical, oppressive, unscrupulous, and unconscionable. Accordingly, Plaintiffs

   request that they be awarded punitive and exemplary damages.

           124.    In all circumstances, Earle’s extensive unlawful conduct constitutes aggravated

   misconduct that is morally reprehensible.

           125.    The unlawful conduct of Earle constitutes intentional or reckless conduct that

   justifies the imposition of punitive damages against Defendants, under OKLA. STAT. tit. 23, § 9.1,

   in an amount not less than $75,000.

       J. FRAUD

           126.    Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           127.    Corporate Defendants engaged in a deliberate and intentional scheme of fraud from

   which they derived monetary benefits.




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           128.    As a result of Corporate Defendants’ deliberate and intentional scheme of fraud,

   Plaintiffs suffered damages in excess of $75,000 and are entitled to recover attorney’s fees, costs,

   and interest.

       K. RESULTING OR CONSTRUCTIVE TRUST - EQUITABLE LIEN AGAINST EARLE

           129.    Plaintiff incorporates by reference and realleges each and every allegation above as

   though fully set forth herein.

           130.    Upon information and belief, Defendant Earle used UPPR assets and funds for his

   personal use and expenses without authority to do so, and he has misappropriated UPPR funds.

           131.    Plaintiffs are entitled to imposition of a resulting or constructive trust and equitable

   lien on any and all monies and other UPPR assets misappropriated or improperly received by Earle,

   as well as any proceeds thereof and all property obtained with such funds.

       L. CONVERSION

           132.     Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           133.    Defendant Earle sold or directed that assets, including the biomass, owned by

   UPPR be transferred to Linear Park. This transfer provided a personal benefit to Earle because he

   is a shareholder of Linear Park and the transfer was accomplished with assistance, advice, and

   cooperation from other Corporate Defendants.

           134.    The property disposed of or sold was owned by UPPR and UPPR did not receive

   fair value in return.

           135.    Corporate Defendants’ multiple conversions of the assets damaged the value of

   Plaintiffs’ shares in an amount in excess of $75,000.




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           136.    The actions of Corporate Defendants were willful, malicious and in conscious

   disregard of the rights of others. Therefore, Plaintiffs are also entitled to an award of punitive

   damages.

       M. RESULTING IN CONSTRUCTIVE TRUST – EQUITABLE LIEN AGAINST UPPR AND OTHER
          COMPANY DEFENDANTS

           137.    Plaintiffs re-allege and incorporate each and every allegation above as though fully

   set forth herein.

           138.    Upon information and belief, Corporate Defendants transferred UPPR assets into a

   holding company owned by themselves, personally benefitting for the transfer.

           139.    Plaintiffs are entitled to an order, judgment and decree imposing a resulting or

   constructive trust and equitable lien on any and all monies and other UPPR assets misappropriated

   or improperly received by Corporate Defendants, the proceeds thereof as well as on any other

   property, real or personal, obtained with such funds or proceeds.

                                       CONCLUSION AND PRAYER

           WHEREFORE, Plaintiffs demand judgment in UPPR’s favor against all Defendants as

   follows:


           A. Requiring UPPR to produce to Plaintiffs, for inspection and copying, all documents requested

               in the demand letter;

           B. Ordering an accounting of the finances of UPPR;

           C. Declaring that Plaintiffs may maintain this action on behalf of UPPR and that Plaintiffs are

               adequate representatives;

           D. Awarding actual damages in excess of $1,000,000.00 to Plaintiffs for Common Law Fraud,

               as well as damages for Securities Fraud under applicable state and federal laws committed

               by or aided and abetted by Earle, McDougall and Livingston;


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         E. Declaring that Defendants Earle, McDougall, and Livingston have breached or aided and

             abetted the breaches of fiduciary duties to UPPR;

         F. Determining and awarding damages in excess of $1,000,000.00 to UPPR for the harm

             suffered as a result of the violations set forth above from each of Earle, McDougall, and

             Livingston, jointly and severally, and the Demand Defendants, jointly and severally, with

             interest thereon;

         G. Ordering the removal of Defendant Earle from the current Board of Directors and as an

             officer of UPPR;

         H. Ordering a clawback of all salary, bonuses, stock options or other compensation received

             by Defendants Earle, McDougall, and Livingston during the entire period of their

             involvements with UPPR;

         I. Declaring a resulting trust or in the alternative an equitable lien on all property, monies and

             other UPPR assets misappropriated or inappropriately received by Earle, McDougall, and

             Livingston;

         J. Ordering that UPPR take all necessary reforms to improve its corporate governance and

             internal procedures to comply with the applicable rules, regulations and laws and to protect

             UPPR from a repeat of the damaging events described herein, including, but not limited to,

             putting forth a shareholder vote on the following resolutions to amend the Company’s By-

             Laws and Articles of Incorporation:

                 l. A provision which would strengthen the Board’s supervision and oversight of

                 operations and implement procedures for greater shareholder input into the policies

                 of the Board;


                 2. A provision which would mandate that the Board’s subcommittees must meet

                 not less frequently than quarterly and that a detailed agenda and materials must be

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                circulated for review by each Board subcommittee member at least two weeks prior

                to the subcommittee meeting;


                3. A proposal which would ensure the implementation of effective oversight to

                ensure compliance with applicable rules, regulations, and laws; and


                4. A provision which would provide for the clawback of salary, bonuses, stock

                options or any compensation where material harm to the Company can be traced to

                the actions of any executive, officer or director of the Company.


         K. Determining and awarding UPPR exemplary damages in an amount necessary to

            punish Earle, McDougall, and Livingston and to deter future behavior of a similar

            nature;

         L. Damages for Conversion or in the alternative an order awarding UPPR restitution from

            Earle, McDougall, and Livingston of all assets of any kind taken by any or all of them

            from UPPR;

         M. Awarding UPPR restitution from Linear Park, and PrimaPharma of anything of value

            received by any of them from UPPR, Earle, Livingston, or McDougall;

         N. Awarding Plaintiff costs and disbursements of this action, including reasonable

            attorney's fees, expert fees, costs, and expenses; and

         O. Granting such other and further equitable relief as may be just and proper.




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                                            JURY DEMAND

         Plaintiffs demand trial by jury.

         DATED AND FILED May 7                 , 2020.

                                                         Respectfully submitted,

                                                            /s/ R. Brent Blackstock
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                                   BEFORE THE UNITED STATES
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                              SECURITIES AND EXCHANGE COMMISSION

                                            WASHINGTON, D.C.


                              Upper Street Marketing, Inc. et al. v. United States
                                   Securities and Exchange Commission

                                UPPER STREET MARKETING INC. and
                                    JOSEPH EARLE, Shareholder,

                                                Petitioners

                                                      vs.

                   UNITED STATES SECURITIES AND EXCHANGE COMMISSION

                                                Respondent


                           Petition to the United States Securities and Exchange
                   Commission pursuant to Rule 550 of the Commission’s Rules of Practice

                                    Securities and Exchange Act of 1934,
                                    Release No. 34-8622 (June 27, 2019)


            PETITION OF UPPER STREET MARKETING INC. AND JOSEPH EARLE
           UNDER RULE 550 OF THE SECURITIES AND EXCHANGE COMMISSION
                                RULES OF PRACTICE




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                                                 INTRODUCTION


                    Petitioners Upper Street Marketing Inc. (“UPPR”) and Joseph Earle (“Mr.

         Earle”), UPPR’s President and a major shareholder, hereby file this timely1 petition (this

         “Petition”) with the United States Securities and Exchange Commission (the

         “Commission”) pursuant to Rule 550 of the Rules of Practice of the Commission (the

         “Commission Rules”). Petitioners are requesting that the Commission (1) rescind and

         void its June 27, 2019, order (the “Order”) that suspended trading in UPPR’s stock for

         ten days (the “Suspension”) and, to the extent necessary, (2) not require the process

         outlined in Rule 15c2-11 under the Exchange Act (“Rule 15c2-ll”), codified at 17 C.F.R.

         Section 240.15c2-l 1, be followed to recommence trading in UPPR stock.1
                                                                               2 See

         Declaration of Mr. Earle, ^11. Because UPPR and Mr. Earle have been adversely

         affected by the Suspension, which the Commission issued pursuant to 15 U.S.C.

         78/(k)(l)(A), they are entitled to petition for the above relief and, as more fully explained

         below, seek to show that such relief is warranted because the Suspension was issued

         without appropriate constitutional safeguards and was not necessary in the public interest

         or for the protection of investors.

                                            STATEMENT OF FACTS

                   A. The Commission Suspended Trading in UPPR.

                   Without any prior notice of its concerns or any opportunity to address these

         concerns, on June 27, the Commission suspended trading in the securities of UPPR



        1 The Commission served the Order by mail; Mr. Earle on received it on July 3, 2019. This petition,
        therefore, is timely filed. See Declaration of Mr. Earle, U 1.
        2 The facts herein have been sworn to by Mr. Earle. See Declaration of Mr. Earle.


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         because of questions concerning the accuracy and adequacy of information publicly

         disseminated about UPPR since November 2018:

                    1. Public statements by UPPR dated May 8, 2019 and May 23, 2019 concerning

                       $10.55 million worth of purported financing for UPPR;

                   2. Public statements by UPPR dated April 30, 2019 and May 23, 2019 denying

                       its retention of an investor relations firm despite apparent possible

                       promotional activity on behalf of UPPR; and

                   3. Inadequate statements, since at least November 2018, concerning a possible

                       private offering of at least $3 million dollars in UPPR’s common stock.


                   B. UPPR Voluntarily Amended the Filings Referenced in the Order.


                   In the two weeks since the Commission issued the Order, UPPR voluntarily

         amended the relevant filings to address the Commission’s issues. If it had been provided

         with proper notice and an opportunity to cure these issues in advance of the Suspension,

         it would have been able to respond in a similarly expeditious manner. Specifically, by

         July 12, 2019, UPPR had amended the filings to provide a detailed description of: (a) the

         investor relations firms engaged by UPPR; (b) the law firms engaged by UPPR; (c)

         UPPR’s independent auditor; (d) the merger and acquisition transaction; and (e) the

         history of UPPR’s completed financings. See Declaration of Mr. Earle, ^14.

                                                  ARGUMENT

                   A. The Regulatory Scheme. As Applied to Suspend Trading in UPPR. Violates
                      Due Process.1

                      1. General Rule ofNotice and Opportunity to Be Heard




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                   The Commission issued its Order on an ex parte basis without providing UPPR

         any notice of the action or opportunity to be heard prior to the Suspension; the

         Commission did not obtain this extraordinary relief from a neutral judicial officer. As

         such, the Commission did not comply with “the root requirement” of the due process

         clause to give notice before acting. Cleveland Bd. ofEduc. v. Loiidcrmill. 470 U.S. 532,

         542 (1985) (emphasis in original).

                   2. The Odd Cotton Exception Is Not Applicable

                   With respect to actions taken by administrative agencies like the Commission,

         federal courts have held that the demands of due process may not require a hearing at the

         initial stage, or at any particular point in the proceeding, so long as a hearing is held

         before the final order becomes effective. Opp Cotton Mills v. Administrator. 312 U.S.

         126, 152, 153 (1941)(emphasis added). For OTC companies, however, a trading

         suspension is effectively a final order (and the likely demise of the company). Not only

         is there no further action that the Commission needs to take but also the consequences of

        the onerous 211 process that the SEC requires have lasting effects for OTC companies.

                   To the extent that the Commission may rely on a case that held that plaintiffs due

        process rights were not denied by a prompt post-deprivation review of the trading

         suspension, Xumanii Int'l Holdings Corp. v. SEC that case does not control here. 670

        Fed. Appx. 508 (9th Cir. Oct. 19, 2016). First, Xumanii. as an unpublished case, not

        considered precedent. Ninth Circuit Rule 36-3. Second, Xumanii does not establish

        whether or not the Court considered the onerous burden of the Rule 15c2-l 1 process that

        the SEC requires, delaying the re-trading of the stock for two to six months, in its




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         decision that Xumanii’s due process rights were adequately protected. See 670 Fed.

         Appx. at 509. Third, that decision is so bare as to be unusable.

                    Furthermore, the application of this practice is patently unfair to OTC issuers. A

         trading suspension for an OTC company equates to an unconstitutional de-listing. It

         evidently has also become the SEC policy now, as well, to support FINRA against OTC

         companies. This joint policy of FINRA and the SEC has developed slowly over many

         years and now imposes an automatic re-filing of a 211 by a market-maker for any OTC

         company which has any type of trading suspension, whether temporary or permanent.

         Here, the Commission did not hold a hearing before implementing a “temporary”

         suspension which, in fact, amounted to a de facto de-listing of UPPR’s stock off of the

         OTC exchange.

                    SEC Rule 211 does not facially discriminate against OTC stocks. Still, based

         upon the steadfast application of FINRA and SEC “policy,” the process of temporary

         suspension is never good for an OTC stock. When the Constitution requires a hearing, it

         requires a fair one, held before a tribunal that meets currently prevailing standards of

         impartiality. Wonti Yana Sung v. McGrath. 339 U.S. 33, 50 (1950). A party in UPPR’s

         position must be given an opportunity not only to present evidence, but also to know the

         claims of the opposing party and to meet them. Those who are brought into contest with

         the government in a quasi-judicial proceeding aimed at control of their activities are

         entitled to be fairly advised of what the government proposes and to be heard upon the

        proposal before the final order is issued. Martian v. United States. 304 U.S. 1, 18-19

         (1938).

                   B. Pre-Action Notice and Hearing Protects UPPR’s Investors.



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                   UPPR, Mr. Earle, other shareholders and its lenders are being hurt by the

        cessation of trading in UPPR’s stock. In its Order, the Commission announced that it had

        issued a trading suspension of UPPR stock due to questions about the “accuracy and

        adequacy” of information publicly disseminated by or about UPPR in three key areas:

                1. Public Statements by UPPR Dated May 8, 2019 and May 23, 2019 Concerning
        Its $10.55 Million in Financing

                   UPPR did not issue any press releases on either date; rather, under previous

        advisory relationships with its prior legal counsel and auditors, UPPR made filings on

        these dates with the OTC. UPPR has now corrected and amended within the last two

        weeks as described more particularly above. No public issue remains about these filings.

        If the Commission had inquired about these filings, this amendment process would have

        occurred without the need to suspend trading.3

               2. Public Statements by UPPR Dated April 30, 2019 and May 23, 2019 Denying
        Retention of an Investor Relations Firm

                   Again, since the issuance date of the Order, UPPR has corrected and amended

        these OTC filings. See Declaration of Mr. Earle, |14. UPPR has disclosed the investor

        relations firm with which it has been working.

               3. Inadequate Statements, Since November 2018, By UPPR about A Possible
        Private Offering ofAt Least $3 Million.

                   UPPR never announced publicly that it had obtained $10.55 million in financing

        with Michael Sobec or anyone else. It did negotiate with Mr. Sobec for such financing,

        but that deal never closed. Instead, the $10.55 million, comprised of a $10 million equity

        line plus a $500,000 bridge loan, never closed because the equity line required UPPR to

        3 UPPR did not author, plan or distribute any offending press releases. Only those press releases which are
        authorized by UPPR’s board are the lawful press releases of UPPR. UPPR publishes its press releases
        exclusively on OTCmarkels.com, and nowhere else. Any other releases are not authorize releases.



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         uplist to OTCQB and file an S-l Registration Statement. The “$3 million” raise predated

         the desired “$10.5 million” raise by six months (approximately October 1, 2018) and was

         simply the sale of restricted stock to accredited investors under Rule 144.

                   Again, UPPR has amended to filings to make the history of its financing clearer

         and the history of its merger and acquisition transaction clearer.

                   C. The Commission’s Actions Violate the APA.

                   The process here, once the ten day suspension expires, continues on without

         disclosure or resolution for UPPR or its shareholders. SEC has an informal rule, which

         violates the Administrative Procedures Act because this rule was not passed pursuant to

         the APA that requires the filing of new 15c2-l 1 filing pursuant to 17 C.F.R Section

         240.15c2-11 without that regulation actually requiring it after a suspension of an OTC

         stock.4 Stewart v. Smith. 673 F. 2d 485, 498 (1982) (“a rule may not be characterized as

         one of ‘management’ or ‘personnel’ if it has a substantial effect on persons outside the

         agency.”). This illegal process will harm UPPR’s shareholders in three ways. (1)

         UPPR’s shareholders now cannot trade for many months and their investment has

         become illiquid; (2) UPPR’s shareholders concurrently have experienced substantial

         dilution from predatory lenders who have added shares as the stock now remains dormant

         or “gray”; and (3) once trading re-opens (after a presumed minimum 6-month delay in

         15c2-11 approval), the “old” stock price shall plummet. This whole process hurts

         investors, and it should not be imposed here.

                   This is not by law or regulation; rather, 17 CFR § 240.15c2-11 amounts to a mere

        policy requiring that broker-dealers file a “new 211” every time information about the


        4 Here is one place informal rule is found, https://www.sec.gov/investor/alerts/tradingsuspensions.pdf


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         issuer goes stale. But a suspension does not mean that the information about the OTC

         filer is stale. SEC policy, especially here, should be waived.

                   D. The Commission Committed an IIlegal Taking.

                   Without a hearing prior to the suspension, the suspension of an OTC stock

         amounts to an unlawful taking. Suspending trading essentially strips Mr. Earl’s stock of

         its value, as it makes it illiquid. Suspending trading effects a taking of Mr. Earl’s

         property by removing its value without compensation until a 211 is filed, See Knick v.

         Twp, Of Scott, 588 U.S.___slip op. at 8 (2019) (“a property owner has a Fifth

         Amendment entitlement to compensation as soon as the government takes his property

         without paying for it. “).




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                                               CONCLUSION

                   The Commission is targeting OTC companies unfairly while relying upon an

          illegal, informal rule that demands automatic re-filing of a 211 by a market-maker if the

         issuer’s trading is suspended, even temporarily. This is not rooted in law or regulation.

         To remedy this constitutionally deficient process, UPPR urges the Commission to vacate

         and rescind the Suspension, provide UPPR with a legitimate, transparent constitutional

         process to be heard, and have UPPR’s arguments considered by a neutral judicial officer.

         If needed, the Petitioners also request that the Commission permit expedited briefing

         (including a short reply) and an expedited hearing on this petition and as result of that

         briefing and hearing, the Commission rescind and void the Suspension and order that no

         one is required to follow the process outlined in 17 C.F.R Section 240.15c2-11 for the

         shares of UPPR to commence trading again.




                                                             Respectfully submitted,

                                                               FOLEY & LARDNER LLP




                                                               KRUEGER LLP
                                                               Blair Kruger

                                                              Attorneys for Petitioners UPPER
                                                              STREET MARKETING INC. and
                                                              JOSEPH EARLE

         DATE: July 12, 2019




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                                     CERTIFICATE OF COMPLIANCE

                   I certify that the attached PETITION uses a 12-point, Times New Roman font and
         contains 2082 words.

         Dated: July 12,2019

                                                             Respectfully submitted,

                                                               FOLEY & LARDNER LLP




                                                              Pamela Johnston, Esq.
                                                              Attorneys for Petitioner UPPER
                                                              STREET MARKETING INC.




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                                   AFFIDAVIT OF JOSEPH EARLE


   I, Joseph Earle, state:

       1. I am the President of Upper Street Marketing Inc. I have had a long and successful

          business career of over 43 years: first, for two decades as a licensed stock broker; then

          second, over 30 years as executive management for a variety of both private and public

          operating companies.

      2. From 1979 through 1998, I held a number of securities licenses with FINRA (then

          “NASDR”). Those various licenses included a Series 1 license, a Series 7, 24, 63 and

          others. I voluntarily let these licenses expire in 1998 through non-renewal. During these

          two decades, I had no disclosures or regulatory issues anywhere as reflected in my U-4.

      3. During the past 24 years of my business career, I have served as a CFO, a CEO and COO

          of multiple technology and operating companies. These technologies include, but are not

          limited to, telecommunications, pharmaceuticals, medical devices, hardware and software

          engineering, electronic manufacturing as well as mechanical engineering and

          manufacturing. I have successfully executed numerous mergers, acquisitions and other

          exit strategies for these businesses.

      4. In approximately April 2018,1 was retained to manage and operate a water technology

          company, Growing Springs LLC (“Growing Springs”) which provided their technology

          to hemp growers.

      5. In August 2018, I expanded this opportunity to a dormant public company, Upper Street

          Marketing Inc. (OTC trading symbol: “UPPR”), in order to pursue opportunities in the

          Flemp and CBD markets domestically and internationally. In September 2018,1 executed

          a reverse take-over of UPPR (the “RTO”). Since the RTO, and before, UPPR has never

                                                   1


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           engaged to any degree in any business pursuit within the so-called “Cannabis industry”,

           specifically, or in a segment or sub-segment of any type of commercial Cannabis

           enterprise, generally. The Petitioner, UPPR, is not a cannabis company.

      6. Since September 2018, UPPR has raised approximately $3 million dollars necessary to

           execute its business plan of hemp cultivation and CBD extraction via the sale of restricted

           144 stock to accredited investors.

      7. Since September 2018, UPPR has successfully acquired the use of over 1,200 acres

           needed to grow industrial hemp in and around Center, Colorado. UPPR has planted and

           is cultivating these 1,200 acres in order to produce 2,000,000 pounds of biomass needed

           to extract CBDs.

      8. UPPR has purchased a 100,000 square foot CBD processing facility at 701 3rd St, Center,

           Colorado.

      9.   UPPR has leased a 12,000 square foot laboratory at 3444 Tripp Court, San Diego,

           California, needed to process and manufacture CBDs.

      10. UPPR is poised to be one of the largest producers of CBDs in the world.


      11. The Securities and Exchange Commission personally served me with the Cease Trade

           Order on behalf of the Petitioner on July 3, 2019. See Trading Suspension Order date

           June 27, 2019 (the (“Order”), Commission Release No. 34- 86228,

           h'H’h1. ,ygc. 20 v/lifi» ation/s itspa /1 .v ion s/2019/34-86228. pdf'.


      12. All UPPR press releases are on the OTC Markets website. Anything not on the OTC site

           is bogus or from unrelated and unknown third parties, bloggers or others not affiliated

           with UPPR. UPPR has never at any time released false and misleading information.




                                                             2


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      13. UPPR began selling restricted 144 stock to accredited investors in September

         2018. These stock sales pre-dated the reference to a $10.55 million facility in the Cease

         Trade Order. Under the terms of the Harbor Gate Financing, on or about April 26, 2019,

         UPPR and Harbor Gate LLC entered into a financing agreement with two important

         components: (a) a $550,000 bridge loan fundable to UPPR immediately; and (b) a

         $10,000,000 equity line fundable for UPPR upon (i) UPPR’s uplisting to the OTCQB and

         (ii) UPPR’s filing of an S-l Registration Statement with the Commission, whichever

         event occurs later.

      14. Since the date of the Order, UPPR has filed amendments to its filings with the OTC since

         September 2018. These amendments include and address each of the issues identified by

         the Commission in its Order, to wit:

             a. Identifying names of, and details about, investor relations firms hired by UPPR in

                order to correct omissions or misstatements in UPPR’s public OTC filings on April

                30, 2019 and May 23,2019;

             b. Identifying names of, and details about: (a) the law firms engaged by UPPR; (b)

                UPPR’s independent auditor; and (c) the merger and acquisition transaction, in

                order to correct omissions or misstatements in UPPR’s public OTC filings.

             c. Rectifying inadequate statements in public filings dated May 8 and May 23, 2019

                of UPPR by providing, by amendment to its public OTC filings, a detailed

                description of the Harbor Gate transaction (with exhibits);

            d. Rectifying inadequate or unintentionally omitted statements in public filings since

                November 2018 concerning the Harbor Gate Financing and other matters;




                                                 3

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              e. Amending UPPR's publie filings for Deeember 31, 2018 and its quarterly report

                  dated Mareh 31, 2019.


   The amendments to eaeh of UPPR's filings are now presently available on the web at the

   following link to the OTC website:   11,   ,v.otcmarkets.com/stock/UPPR/rlisclosure.


      15. The reeent SEC eease trade Order exeeuted against Upper Street Marketing Ine. has

          greatly damaged me, my wife, and our family. Personally, I own 35 million shares of

          UPPR stoek and l O million Common Stoek purebase warrants for a total of 45 million

          eommon shares, making me the largest shareholder of UPPR. Prior to the eease trade

          order the most reeent priee was $1.50 eents per share. The effeetive value of my personal

          holdings was over $67 million dollars. I am not able to trade my shares now; if this

          situation does not ehange, l will have lost $67 million, At age 65, the eease trade Order,

          if not rescinded, may likely eause a substantial loss to me personally, which in turn shall

          dramatically affeet my plans for our retirement. Prior to this eease trade Order, my wife

         and l were making a number of detailed retirement plans for the next few years that will

         likely be signifieantly impaired by the Order. Additionally, my wife and I were making

         plans for our ehildren and grandehildren that are also impaeted by the cease trade

         order. lt is my wish that the Commission will reeonsider its position and immediately

         rescind this unfair Order, let UPPR repair this damage, and get UPPR baek to its true

         mission and eorporate purpose.

      16. The Cease Trade Order is doing irreparable damage to UPPR.

      17. Paragraphs 18 through 25 have been intentionally omitted.




                                                     4


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     26.1 have read and reviewed in detail the Petition filed by UPPR with the Commission. 1

         hereby verify the facts alleged in the Petition by the attorneys for UPPR.


         I declare under penalty of perjury under the laws of the United States that the foregoing is

  true and correct. Executed this 11th day of July 2019 in San Diego, California.




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    personally appeared                   WsffM_£AyM^£                               ____
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                         San Diego County          z
                      Commission # 2153751         ^
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            Upper Street Marketing Inc.
            Announces Strategic Partnership
            in Canada
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             April 18, 2019 20:09 ET | Source: Upper Street Marketing Inc.

            San Diego, CA, April 18, 2019 (GLOBE NEWSWIRE) -- via NEWMEDIAWIRE -- Upper
            Street Marketing Inc. (OTC Market, trading symbol UPPR) and its wholly-owned
            subsidiary, Growing Springs Holding Corporation, has announced a strategic
            partnership with Catch Capital Partners Inc. (CATCH) to jointly develop cannabis and
            hemp production and extraction in Canada. Under the terms of the partnership
            arrangement, UPPR will acquire a twenty percent (20%) interest in the common voting
            equity of CATCH in exchange ve million common voting shares of UPPR.

            “UPPR is excited to join forces with the experienced management team at CATCH to
            develop their immediate and future [outdoor] cultivation and extraction projects which
            have the potential to provide signi cant cannabis and hemp supply,” said Joseph Earl,
            the Chief Executive O cer of UPPR. Mr. Jeff Wareham, the Chief Executive O cer of
            CATCH, added that “Our strategic partnership with UPPR provides strong
            complementary synergies and is expected to accelerate the development of our near-
            term and longer-term initiatives. We are particularly excited that UPPR has a formal
            working relationship with PrimaPharm, a San Diego based cGMP certi ed
            pharmaceutical producer, which will enable CATCH to ensure their products and
            processes meet what we believe will be the gold standard for the burgeoning medical
            cannabinoid market.”

            Upper Street Marketing Inc. is a publicly traded Oklahoma Corporation that specializes
            in acquisition, nance and management of hemp cultivation, extraction and CBD
            manufacturing in Colorado and other US States. UPPR is uniquely serving its target
            markets with cGMP grade cultivation and manufacturing standards. The rapidly
            expanding hemp, CBD and cannabis markets in the North American and world markets
            is a perfect opportunity for UPPR and Growing Springs Holdings Corporation.

            UPPR and Growing Springs Holdings Corporation are ideally positioned to capitalize on
            recent regulatory changes that dramatically enhance opportunities in hemp production
            and CBD extraction as well as FDA concerns regarding use of CBDs in the marketplace.

            Growing Springs Holdings Corporation website is www.growingspringsholdings.com.

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https://www.globenewswire.com/news-release/2019/04/19/1806938/0/en/Upper-Street-Marketing-Inc-Announces-Strategic-Partnership-in-Canada.…   1/3
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            CATCH is an Ontario, Canada based company focused on outdoor cannabis and hemp
            production. Catch has identi ed a unique property with the potential to be a market
            leading outdoor project. The project offers exceptional access to infrastructure, existing
            facilities uniquely suited to cannabis production, access to freshwater; gas, municipal
            water, and over 200 acres of highly productive agricultural land. Catch is actively
            seeking to develop further properties suitable for hemp and cannabis production.

            Upper Street is also pleased to announce that it is completing its fully audited nancial
            statements, and expects to le for both full SEC compliance and to uplist to the OTCQB
            markets over the next weeks.

            Cautionary Language Concerning Forward-Looking Statements

            Statements in this press release may be "forward-looking statements" within the
            meaning of the Private Securities Litigation Reform Act of 1995. Words such as
            "anticipate", "believe", "estimate", "expect", "intend", and similar expressions, as they
            relate to the Company or its management, identify forward-looking statements. These
            statements are based on current expectations, estimates, and projections about the
            Company's business, based, in part, on assumptions made by management. These
            statements are not guarantees of future performance and involve risks, uncertainties,
            and assumptions that are di cult to predict. Therefore, actual outcomes and results
            may, and probably will, differ materially from what is expressed or forecasted in such
            forward-looking statements due to numerous factors. Such statements could be
            affected by risks and uncertainties related to: (i) our ability to execute the Company's
            business plans with the uncertainty of agricultural crops (ii) product demand, market,
            and customer acceptance of the Company's products, (iii) the Company's ability to
            obtain nancing to expand our operations, (iv) the Company's ability to attract quali ed
            sales representatives, (v) competition, pricing and development di culties, (vi) the
            Company's ability to conduct the business if there are changes in laws, regulations, or
            government policies related to the Company's products, (vii) the Company's ability to
            conduct operations if it faces product recalls, and (viii) general industry and market
            conditions and growth rates and general economic conditions. Any forward-looking
            statements speak only as of the date on which they are made, and the Company does
            not undertake any obligation to update any forward-looking statement to re ect events
            or circumstances after the date of this release.

            For Further Information Contact:
            Upper Street Marketing
            Inc.:                                                                                  .
            Phone: (844) 535-UPPR
            (8777)
            Email investorrelations@upperstreetmarketing.com

            Catch Capital Partners Inc

            Phone (519) 494-6884



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           Upper Street Marketing Secures
           1.5 Million Pounds of Hemp for
           CBD Extraction
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            May 28, 2019 00:15 ET | Source: Upper Street Marketing Inc.

           SAN DIEGO, CA, May 28, 2019 (GLOBE NEWSWIRE) -- via NEWMEDIAWIRE – Upper
           Street Marketing Inc. (OTC Markets: symbol UPPR) and its wholly owned subsidiary
           Growing Springs Holding Corp. have entered into an agreement to process 1.5 million
           pounds of hemp biomass into cannabidiol (CBD) isolates and distillates with a value of
           approximately $200 million.

           Fox Organic Farms will deliver the biomass from its 830-acre Saguache, Colorado
           cultivation to UPPR-a liated extraction facilities in October, where it will be converted
           into pharmaceutical-grade CBD products in exchange for a 50% share of the revenue.

           “Ryan Fox is one of the sharpest guys transforming the Colorado agricultural landscape
           and we are extremely happy to get this opportunity to work with him,” noted Upper
           Street CEO Joseph Earle. “Hemp is a delicate crop that requires expert handling to
           optimize CBD extraction yields without going over federal THC limits. We’re eager to
           see what he brings in.”

           Since Fox is a noted gure within the Colorado recreational cannabis and CBD industry,
           recognizing revenue will be assured that the extracts are produced and delivered —
           especially given the fact that current CBD supply falls far short of projected demand.

           Fortune magazine and other publications have contemplated a 100X surge in CBD
           consumption between now and 2023, at which point UPPR and other producers will
           need to ramp up output from a currently minimal 50,000 kg of isolate to as much as 3.5
           million kg. An estimated 7% of Americans are currently consuming CBD products, with
           that population conservatively expanding 30% (to 25 million adults) by 2025.

           Fox already has an extensive network of commercial relationships in place through
           sales of CBD extracts will occur. Even though we anticipate a 10-18% CBD yield, even at
           a low nominal 5% CBD yield (10-18% is more common), this arrangement can easily
           generate substantial cash ow for UPPR while its own Colorado hemp crop approaches
           harvest and extraction.

            Recent industry pricing on CBD isolates are running above $3,000 per pound ($7,000
            per kilogram) and many organic hemp farmers target yields of 15% CBD or higher.
                                                                                                                    EXHIBIT C
https://www.globenewswire.com/news-release/2019/05/28/1850669/0/en/Upper-Street-Marketing-Secures-1-5-Million-Pounds-of-Hemp-for-CBD-E…   1/3
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                                                                      Pounds      ND/OK
                                                                             of Hemp for CBDon  05/07/20
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                                                                                                        Other OTC:UPPR of 88
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           “While we are eager to bring in our own hemp crop, processing Fox Organic Farms
           biomass provides us with incremental revenue and a robust proof of concept,” Joseph
           Earle explains.

           “Successful execution will put UPPR on the national map and makes it like that we
           exceed our initial $75 million revenue target for the year, opening the door to more
           extensive cooperation with Fox Organic Farms in the future.”

           About Upper Street Marketing and CBD

           Now fully legal as a non-psychoactive product of industrial hemp, CBD has been
           promoted as an effective treatment for everything from arthritis to insomnia. To date,
           the only FDA-approved uses are for two rare forms of childhood epilepsy. With one of
           the only integrated “seed to consumer” platforms for participating in all phases of the
           industry from crop to value-added commercial and clinical product development, UPPR
           intends to be a leader in FDA cGMP (Current Good Manufacturing Practice) capabilities
           in the hemp and CBD marketplace.

           Cautionary Language Concerning Forward-Looking Statements

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           business plans with the uncertainty of agricultural crops (ii) product demand, market,
           and customer acceptance of the Company's products, (iii) the Company's ability to
           obtain nancing to expand our operations, (iv) the Company's ability to attract quali ed
           sales representatives, (v) competition, pricing and development di culties, (vi) the
           Company's ability to conduct the business if there are changes in laws, regulations, or
           government policies related to the Company's products, (vii) the Company's ability to
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           or circumstances after the date of this release.

           For Further Information Contact:
           Upper Street Marketing
           Inc.                                                                                 .
           Phone: (844) 535-UPPR
           (8777)
           Email: investorrelations@upperstreetmarketing.com
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https://www.globenewswire.com/news-release/2019/05/28/1850669/0/en/Upper-Street-Marketing-Secures-1-5-Million-Pounds-of-Hemp-for-CBD-E…   2/3
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           Upper Street Marketing
           Approaches Full-Scale
           Pharmaceutical-Grade CBD
           Extraction With Multi-Million
           Dollar Equipment Order
                                                   Email            Print Friendly            Share

            June 24, 2019 06:15 ET | Source: Upper Street Marketing Inc.

           SAN DIEGO, CA, June 24, 2019 (GLOBE NEWSWIRE) -- via NEWMEDIAWIRE – Upper
           Street Marketing Inc. (OTC Markets: symbol UPPR) has nalized a binding multi-million
           dollar agreement to purchase state-of-the-art extraction systems from ICC Group
           (https://www.icc-inc.net) designed to process up to 2 million pounds of raw hemp
           biomass a year into 120,000 liters of crude cannabidiol (CBD) free from psychoactive
           contaminants.

           “ICC Group is one of the preeminent pharmaceutical manufacturing equipment
           companies in the world,” said UPPR CEO Joseph Earle. “Executing this agreement puts
           us on track to start converting raw hemp into CBD distillates and concentrates within
           the next 120 days.”

           ICC Group personnel have designed and installed manufacturing plants, automated
           production systems and other projects budgeted at over $1 billion over the past quarter
           century. Clients in the pharmaceutical space include some of the largest and most
           prestigious companies in the world and many more large multinational companies that
           demand adherence to FDA current Good Manufacturing Practice (cGMP) standards.

           Achieving that level of quality control without sacri cing productivity on a highly
           compressed timeline is central to the ICC Group mission and essential to UPPR’s
           business plan. Processing the raw hemp plant into legal CBD products requires
           sensitive and transparent systems to ensure that psychoactive components remain
           within federal limitations for sale in all jurisdictions.

            The systems UPPR has purchased will support a fully cGMP environment at all stages
            of the CBD production cycle from initial biomass delivery to output in easily transported
            5-gallon containers. These containers of full-spectrum hemp oil will then be shipped
            from Colorado to UPPR’s San Diego laboratory for processing into higher-grade
            distillates and isolates.
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https://www.globenewswire.com/news-release/2019/06/24/1872839/0/en/Upper-Street-Marketing-Approaches-Full-Scale-Pharmaceutical-Grade-C…   1/3
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           As the FDA holds its rst hearings on CBD marketing and development practices,
           manufacturers that can meet cGMP standards now will be in a stronger position to
           comply if, for example, regulators decide to segregate high-grade CBD products from
           those currently on the market.

           “With an anticipated 2 million tons of hemp biomass already moving toward harvest
           and UPPR processing facilities, securing true pharmaceutical-grade systems ensures
           that we provide superior products and dramatically enhances our leadership on
           compliance and quality,” CEO Joseph Earle said.

           “We have the raw hemp supply relationships, the production facilities and contract
           manufacturing partnerships in place. Now that the equipment itself is coming, the road
           to an extraction start and signi cant revenue event as early as September is now clear.”

           Fortune magazine and other publications have contemplated a 100X surge in CBD
           consumption between now and 2023, at which point UPPR and other producers will
           need to ramp up output from a currently minimal annual 50,000 kg of isolate to as
           much as 3.5 million kg annually.

           Recent industry pricing on CBD isolates are running above $3,000 per pound ($7,000
           per kilogram) and many organic hemp farmers target yields of 15% CBD or higher.

           UPPR has also retained FDA-certi ed contract pharmaceutical manufacturer
           PrimaPharma (http://www.primapharma.net) to ensure that all products meet
           regulatory and commercial standards.

           “We remain on track to reach our stated goal of installing enough capacity to produce
           over 100,000 kg of CBD isolate a year within the next 36 months,” CEO Earle explained.

           About Upper Street Marketing and CBD

           An estimated 7% of Americans are currently consuming CBD products, with that
           population conservatively expanding 30% (to 25 million adults) by 2025. Now fully legal
           as a non-psychoactive product of industrial hemp, CBD has been promoted as an
           effective treatment for everything from arthritis to insomnia. To date, the only FDA-
           approved uses are for two rare forms of childhood epilepsy. With one of the only
           integrated “seed to consumer” platforms for participating in all phases of the industry
           from crop to value-added commercial and clinical product development, UPPR intends
           to be a leader in FDA cGMP (Current Good Manufacturing Practice) capabilities in the
           hemp and CBD marketplace.

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           For Further Information Contact:
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           Email: investorrelations@upperstreetmarketing.com




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       Stock Screener
                                                                         TOTALS                      10,870            $1.9B        4.6B        285,812


  Market Activity / Stock / UPPR / News / -



  UPPR              OverviewQuoteCompanySecurityNewsFinancialsDisclosureResearch            Caveat
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                                                                                   Expert
  Street                                                                           MarketTransfer
                                                                                         Agent
  Marketing,                                                                             Veri ed
  Inc.       OTC DISCLOSURE & NEWS SERVICE
  Common Stock
                    Upper Street Marketing Takes its                Press
                                                                    Release |
                    Next Hemp Crop “Inside,” Filling its
                                                                    06/26/2019
                    Facility with $3 Million in Additional
                    Grow Equipment, Projects $15
                    Million in Additional Revenues

                    SAN DIEGO, CA, June 26, 2019 (GLOBE NEWSWIRE) --
                    via NEWMEDIAWIRE – With this year’s 1,200-acre hemp
                    crop in the ground and moving toward harvest, Upper
                    Street Marketing Inc. (OTC Markets: symbol UPPR) and
                    its partners are now expanding their revenue focus
                    beyond the 2019 cannabidiol (CBD) extraction cycle in a
                    $3 million stock for equipment transaction of indoor
                    grow equipment. UPPR will issue $3 million worth of
                    UPPR common shares to the seller, Fox Organic Farms.

                    The purchase of 100,000 watts of state-of-the-art
                    greenhouse lighting capacity enables UPPR to dedicate a
                    section of its 100,000 square-foot hemp extraction
                    facility to seed and transplant production during the
                    fallow season once an anticipated 2 million of biomass
                    from the outdoor crop has been processed.

                    Cultivating hemp seed in full compliance with federal
                    regulations is notoriously dif cult outdoors, where one
                    wrongly sexed plant can ruin a multi-million-dollar
                    harvest. As a result, seed and transplant operations
                    depend on the carefully controlled conditions that only
                    an indoor facility can support.

                    “Adding a winter cultivation to our calendar further
                    expands our hemp business model and extends our 2020
                    revenue projections by at least $15 million,” said UPPR
                    CEO Joseph Earle. “If you were wondering what we


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https://www.otcmarkets.com/stock/UPPR/news/Upper-Street-Marketing-Takes-its-Next-Hemp-Crop-Inside-Filling-its-Facility-with-3-Million-in-Additional…      1/4
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               would be doing a er our projected rst $200 million
                                                                                                   PAGE 2 OF 3
                harvest at the end of the third quarter, this is it.”

                CBD producers like UPPR are already facing extremely
                favorable supply dynamics for the 2019 crop year as
                soaring commercial demand forces the industry to nd
                ways to expand output from a currently minimal 50,000
                kg of CBD isolate to as much as 3.5 million kg before
                2023.

                With enough light to start the 2020 crop early as well as
                provide seedlings for other growers, UPPR is now in
                position to translate what would have otherwise been
                seasonal slack into a pro table new business line,
                furthering its mission of becoming one of the world’s
                only true vertically integrated seed-to-store CBD
                companies.

                Ryan Fox, a noted gure within the national recreational
                cannabis industry, is providing the equipment through
                his Fox Organic Farms of Saguache, Colorado in
                exchange for stock.

                Because UPPR has adopted the highest FDA Good
                Manufacturing Practices (GMP) to support both
                consumer CBD merchandising partners and
                pharmaceutical-grade manufacturing, CEO Earle is
                optimistic that the facility will provide potential
                partners with the highest-quality seedlings.

                “All potential hemp growers should demand valid
                documentation that the seed or clones they are
                purchasing meet THC standards and are suitable for
                industrial production,” he explained. “We can do that.”

                An estimated 7% of Americans are currently consuming
                CBD products, with that population conservatively
                expanding 30% (to 25 million adults) by 2025. Given
                fragmentation and inef ciency in the newly legalized
                industry, strategic leadership is essential.

                About Upper Street Marketing and CBD

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                Email: investorrelations@upperstreetmarketing.com




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                                                            CHANGE
                                       SYMBOL      LAST                 BID     ASK     VOLUME   TIME
   QUOTE                                                    2.34
                                       OTCM        29.82                29.66   30.00   1523     13:49
                                                            (8.52%)




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                                UNITED STATES OF AMERICA
                                         Before the
                           SECURITIES AND EXCHANGE COMMISSION

   SECURITIES EXCHANGE ACT OF 1934
   Release No. 34- 86228 / June 27, 2019


   The Securities and Exchange Commission (“Commission”) announced the temporary
   suspension, pursuant to Section 12(k) of the Securities Exchange Act of 1934 (the “Exchange
   Act”), of trading in the securities of Upper Street Marketing, Inc. (“UPPR”), of San Diego,
   California at 9:30 a.m. EDT on June 28, 2019, and terminating at 11:59 p.m. on July 12, 2019.

   The Commission temporarily suspended trading in the securities of UPPR because of questions
   about the accuracy and adequacy of information publicly disseminated concerning UPPR,
   including, among other things: (1) public statements by UPPR dated May 8, 2019 and May 23,
   2019 concerning $10.55 million worth of purported financing for UPPR; (2) public statements by
   UPPR dated April 30, 2019 and May 23, 2019 denying its retention of an investor relations firm
   despite apparent possible promotional activity on behalf of UPPR; and (3) inadequate statements,
   since at least November 2018, concerning a possible private offering of at least $3 million dollars
   in UPPR’s common stock. This order was entered pursuant to Section 12(k) of the Exchange
   Act.

   The Commission cautions broker-dealers, shareholders, and prospective purchasers that they
   should carefully consider the foregoing information along with all other currently available
   information and any information subsequently issued by the company.

   Further, brokers and dealers should be alert to the fact that, pursuant to Rule 15c2-11 under the
   Exchange Act, at the termination of the trading suspension, no quotation may be entered unless
   and until they have strictly complied with all of the provisions of the rule. If any broker or dealer
   has any questions as to whether or not he has complied with the rule, he should not enter any
   quotation but immediately contact the staff in the Division of Trading and Markets, Office of
   Interpretation and Guidance, at (202) 551-5777. If any broker or dealer is uncertain as to what is
   required by Rule 15c2-11, he should refrain from entering quotations relating to UPPR’s
   securities until such time as he has familiarized himself with the rule and is certain that all of its
   provisions have been met. If any broker or dealer enters any quotation which is in violation of
   the rule, the Commission will consider the need for prompt enforcement action.

   If any broker, dealer or other person has any information that may relate to this matter, they
   should immediately contact Marc J. Blau, Assistant Regional Director, at (323) 965-3975, or
   Roberto A. Tercero, Senior Counsel, at (323) 965-3891. The Commission appreciates the
   assistance of the Financial Industry Regulatory Authority (FINRA) and OTC Markets Group,
   Inc.




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                                                                         OTC MARKETS                 SECURITIES        DOLLAR VOL   SHARE VOL   TRADES
       Stock Screener
                                                                         TOTALS                      10,870            $1.9B        4.6B        285,812


  Market Activity / Stock / UPPR / News / -



  UPPR              OverviewQuoteCompanySecurityNewsFinancialsDisclosureResearch            Caveat
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  Upper                 Pro le Details
                                                                                   Expert
  Street                                                                           MarketTransfer
                                                                                         Agent
  Marketing,                                                                             Veri ed
  Inc.       OTC DISCLOSURE & NEWS SERVICE
  Common Stock
                    Upper Street Marketing Acts in                 Press
                                                                   Release |
                    Response to SEC and OTC Trading
                                                                   07/08/2019
                    Suspension

                    SAN DIEGO, CA, July 08, 2019 (GLOBE NEWSWIRE) -- via
                    NEWMEDIAWIRE -- As previously disclosed on June 27,
                    2019, the Securities and Exchange Commission
                    ("Commission") announced in Release Number 34-86228
                    the temporary suspension, pursuant to Section 12(k) of
                    the Securities Exchange Act of 1934 (the "Exchange Act"),
                    of trading in the securities (the “Trading Suspension”) of
                    Upper Street Marketing Inc. (OTC Markets:
                    symbol UPPR) of San Diego, California at 9:30 a.m. EDT
                    on June 28, 2019, and terminating at 11:59 p.m. on July
                    12, 2019. UPPR is currently communicating and in
                    discussions with the Commission asking the
                    Commission to remove the Trading Suspension and to
                    permit a resumption of trading on the OTC Pink market.

                    OTC Markets Group Inc. ("OTC Markets") announced last
                    week online at OTCmarkets.com that it has discontinued
                    the display of quotes on UPPR common shares because
                    UPPR has been labeled “Caveat Emptor” (buyer beware).
                    OTC Markets Group designates certain securities as
                    “Caveat Emptor” and places a skull and crossbones icon
                    next to the stock symbol to inform investors that there
                    may be reason to exercise additional caution and
                    perform thorough due diligence before making an
                    investment decision in that security.

                    The Caveat Emptor Designation may be assigned when
                    OTC Markets becomes aware of one or more of the
                    following:



                                                                                                                                             EXHIBIT G
https://www.otcmarkets.com/stock/UPPR/news/Upper-Street-Marketing-Acts-in-Response-to-SEC-and-OTC-Trading-Suspension?id=233548                            1/4
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4/30/2020     4:20-cv-00193-TCK-JFJ Document 2 Filed              OTC in USDC
                                                                      Markets      ND/OK on 05/07/20 EXHIBIT
                                                                              | UPPR                 Page 63 G
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                  Promotion— The security is the subject of stock
                                                                                                   PAGE 2 OF 4
                    promotion that may be misleading or
                    manipulative. Promotional activities may include
                    news releases, spam email, and newsletters,
                    whether they are published by the issuer or a third
                    party. SeeOTC Markets Group's Policy on Stock
                    Promotion at OTCmarkets.com.
                    Investigation of Fraud or Other Criminal
                    Activities— There is an investigation or other
                    indication of fraudulent or other criminal activity
                    involving the company, its securities or insiders.
                     Suspension/Halt— A regulatory authority or an
                    exchange has halted or suspended trading for
                    public interest concerns (i.e. not a news or
                    earnings halt).
                     Undisclosed Corporate Actions— The security or
                    company is the subject of a corporate action, such
                    as a reverse merger, stock split, or name change,
                    without adequate current information being
                    publicly available.
                     Other Public Interest Concern— OTC Markets
                    Group may determine that there is a public
                    interest concern regarding the security. Such
                    concerns may include but are not limited to
                    promotion campaigns (including third-party),
                    unusual or unexplained trading activity, spam or
                    disruptive corporate actions even when adequate
                    current information is available.

               OTC Markets will resume the display of UPPR’s stock
               quotes once adequate current information is made
               available by UPPR pursuant to the Alternative Reporting
               Standard or by the SEC Reporting Standard, and until
               OTC Markets believes there is no longer a public interest
               concern. Investors are encouraged to use caution and
               due diligence in their investment decisions. Please read
               the OTC Market’s Investor Protectionpage and OTC
               Markets Policy Regarding Caveat
               Emptor at OTCmarkets.comfor more information.

               The Commission temporarily suspended trading in the
               securities of UPPR last because of questions about the
               accuracy and adequacy of information publicly
               disseminated concerning UPPR, including, among other
               things: (1) public statements by UPPR dated May 8, 2019
               and May 23, 2019 concerning $10.55 million worth of
               purported nancing for UPPR; (2) public statements by
               UPPR dated April 30, 2019 and May 23, 2019 denying its
               retention of an investor relations rm despite apparent
               possible promotional activity on behalf of UPPR; and (3)
               inadequate statements, since at least November 2018,
               concerning a possible private offering of at least $3
               million dollars in UPPR's common stock. This order was
               entered pursuant to Section 12(k) of the Exchange Act.

               The Commission has cautioned broker-dealers,
               shareholders, and prospective purchasers that they
               should carefully consider the foregoing information
               along with all other currently available information and
               any information subsequently issued by UPPR.



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              Further, brokers and dealers should be alert to the fact
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               that, pursuant to Rule 15c2-11 under the Exchange Act,
               at the termination of the trading suspension, no
               quotation may be entered for UPPR unless and until
               such B-Ds have strictly complied with all of the
               provisions of the rule. If any broker or dealer has any
               questions as to whether or not he or she has complied
               with the rule, he or she should not enter any quotation
               but immediately contact the staff in the Division of
               Trading and Markets, Of ce of Interpretation and
               Guidance, at (202) 551-5777. If any broker or dealer is
               uncertain as to what is required by Rule 15c2-11, he or
               she should refrain from entering quotations relating to
               UPPR's securities until such time as he has familiarized
               himself with the rule and is certain that all of its
               provisions have been met. If any broker or dealer enters
               any quotation for UPPR which is in violation of the rule,
               the Commission will consider the need for prompt
               enforcement action.

               For Further Information Contact:

               Upper Street Marketing Inc.:
               Phone: (844) 535-UPPR (8777)
               Email: investorrelations@upperstreetmarketing.com

               About Upper Street Marketing and CBD

               Now fully legal as a non-psychoactive product of
               industrial hemp, CBD has been promoted as an effective
               treatment for everything from arthritis to insomnia. To
               date, the only FDA-approved uses are for two rare forms
               of childhood epilepsy. With one of the only integrated
               "seed to consumer" platforms for participating in all
               phases of the industry from crop to value-added
               commercial and clinical product development, UPPR
               intends to be a leader in FDA cGMP (Current Good
               Manufacturing Practice) capabilities in the hemp and
               CBD marketplace.

               Cautionary Language Concerning Forward-Looking
               Statements

               Statements in this press release may be "forward-
               looking statements" within the meaning of the Private
               Securities Litigation Reform Act of 1995. Words such as
               "anticipate", "believe", "estimate", "expect", "intend", and
               similar expressions, as they relate to the Company or its
               management, identify forward-looking statements.
               These statements are based on current expectations,
               estimates, and projections about the Company's
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               differ materially from what is expressed or forecasted in
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               uncertainties related to: (i) our ability to execute the
               Company's business plans with the uncertainty of
               agricultural crops (ii) product demand, market, and

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                  customer acceptance of the Company's products, (iii) the
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                   Company's ability to obtain nancing to expand our
                   operations, (iv) the Company's ability to attract quali ed
                   sales representatives, (v) competition, pricing and
                   development dif culties, (vi) the Company's ability to
                   conduct the business if there are changes in laws,
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                                                                        CHANGE
                                               SYMBOL          LAST                   BID        ASK        VOLUME       TIME
  QUOTE                                                                 2.34
                                               OTCM            29.82                  29.66      30.00      1523         13:49
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  Market Activity / Stock / UPPR / News / -



  UPPR              OverviewQuoteCompanySecurityNewsFinancialsDisclosureResearch            Caveat
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  Inc.       OTC DISCLOSURE & NEWS SERVICE
  Common Stock
                    Upper Street Marketing Announces                Press
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                    Acquisition of FDA Licensed
                                                                    07/08/2019
                    Pharmaceutical Manufacturer as
                    Regulators Enforce Hemp and CBD
                    Manufacturing Standards

                    SAN DIEGO, CA, July 08, 2019 (GLOBE NEWSWIRE) -- via
                    NEWMEDIAWIRE – Upper Street Marketing Inc. (OTC
                    Markets: symbol UPPR) and PrimaPharma Inc. (“PPI’)
                    (www.Primapharma.net) of San Diego, California, an
                    FDA-licensed pharmaceutical manufacturer, have
                    signed a Letter of Intent (“LOI”) providing for UPPR to
                    acquire an 80% interest in PPI.

                    The letter of intent memorializes the commercial
                    relationship the companies have “cultivated” since
                    January 22, 2019 in which PrimaPharma Inc., agreed to
                    provide UPPR with services and support for the
                    development of hemp derived CBD products for sale and
                    distribution utilizing FDA current Good Manufacturing
                    Practices (cGMP).

                    “Over the last four months our relationship with
                    PrimaPharma Inc., proved to be such a natural t that
                    the principals on both sides realized we can do even
                    more together,” Upper Street CEO Joseph Earle
                    explained. “With this agreement, UPPR has many
                    additional tools and resources to expand our footprint in
                    the rapidly expanding CBD industry and beyond. FDA
                    cGMP standards will require vertically integrated seed-
                    to-consumer regulatory requirements that are currently
                    missing in much of the current CBD industry.”

                    Earle further explains, “I have worked with members of
                    the PrimaPharma team for a decade. We are absolutely a

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https://www.otcmarkets.com/stock/UPPR/news/Upper-Street-Marketing-Announces-Acquisition-of-FDA-Licensed-Pharmaceutical-Manufacturer-as-Re…                1/4
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              great t. “The PrimaPharma team are experts at GMP.
                                                                                                  PAGE 2 OF 4
               The further regulatory reach described by the FDA in
               recent Washington DC hearings, make cGMP
               compliance mandatory for domestic CBD providers.
               Consumers need con dence in the supply of CBD’s.”

               Under the terms of the LOI signed today, UPPR will
               provide the necessary capital to expand PrimaPharma’s
               manufacturing and laboratory capabilities. The
               expanded capabilities will greatly extend the ability of
               PPI to deliver sterile products and for UPPR to deliver
               mass CBD production to its target markets and seal the
               vertical integration loop.

               PrimaPharma will add approximately $5 million in
               assets and is cash- ow-neutral at a $6+ million run rate.
               Following an audit, the acquisition as currently
               structured will be accretive in the rst year a er closing,
               which UPPR management anticipates in four to six
               weeks.

               Strategically, the union of UPPR with PrimaPharma also
               guarantees that production capacity will expand at a
               moment when retail demand for CBD isolates and
               distillates far outstrips supply.

               Fortune magazine and other publications have
               contemplated a 100X surge in CBD consumption
               between now and 2023, at which point UPPR and other
               producers will need to ramp up output from a currently
               minimal 50,000 Kg of isolate to as much as 3.5 million
               Kg.

               An estimated 7% of Americans are currently consuming
               CBD products, with that population conservatively
               expanding 30% (to 50 million adults) by 2025. Given the
               fragmentation and inef ciency in the newly legalized
               industry, strategic leadership is essential.

               UPPR’s newly leased 13,000 square foot laboratory and
               manufacturing facility is adjacent to PrimaPharma’s
               existing San Diego operations, allowing for a nearly
               seamless development of processes and quality systems
               necessary for the production of hemp derived cGMP
               products.

               About Upper Street Marketing and CBD

               Now fully legal as a non-psychoactive product of
               industrial hemp, CBD has been promoted as an effective
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               Cautionary Language Concerning Forward-Looking
               Statements



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              Statements in this press release may be "forward-
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               For Further Information Contact:
               Upper Street Marketing Inc.:                      .
               Phone: (844) 535-UPPR (8777)
               Email: investorrelations@upperstreetmarketing.com




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  QUOTE                                                                 2.34
                                               OTCM            29.82                  29.66      30.00      1523         13:49
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            Upper Street Marketing Inc
            Announces the Completion of the
            Harvest of its Hemp Biomass Crop
                                                   Email            Print Friendly            Share

            November 26, 2019 12:46 ET | Source: Upper Street Marketing Inc.

            San Diego, CA, Nov. 26, 2019 (GLOBE NEWSWIRE) -- via NEWMEDIAWIRE -- Upper Street
            Marketing Inc. (OTC Market, trading symbol UPPR) and its wholly-owned subsidiary,
            Growing Springs Holding Corporation, has announced the completion of the harvest of
            its hemp biomass crop.

            In line with our vision to ensure a sustainable supply of raw materials for consumer-
            facing CBD products, hemp and CBD rm Upper Street Marketing (OTC: UPPR) recently
            announced the completion of the cultivation and harvesting of its various 2019 hemp
            crops.

            The approximately 2 million pounds of hemp biomass crops have been cut from the
            UPPR elds in Colorado and are stored in the 100,000 square foot building in Center,
            Colorado.

            CBD content COA’s have tested in various ranges with several testing over 10% CBD
            content. All 2019 crops have tested in 100% compliance with Colorado law regarding
            THC levels.

            Joe Earle, the CEO of Upper Street and Growing Springs, said, “We are very pleased with
            our rst hemp crop and the results of the testing for CBD content and low THC content.
            This is a crop that is very well suited to being extracted and turned into very valuable
            CBD crude oils, CBD isolates and CDB distillates. With what we have learned this year,
            we are very con dent that we can expand our acreage for 2020.”

            For Further Information Contact:
            Upper Street Marketing Inc.
            Phone: (844) 535-UPPR (8777)

            Email investorrelations@upperstreetmarketing.com

            About Upper Street Marketing and CBD

            An estimated 7% of Americans are currently consuming CBD products, with that
            population conservatively expanding 30% (to 45 million adults) by 2025. Now fully legal
            as a non-psychoactive product of industrial hemp, CBD has been promoted as an
                                                                                                                    EXHIBIT I
https://www.globenewswire.com/news-release/2019/11/26/1952853/0/en/Upper-Street-Marketing-Inc-Announces-the-Completion-of-the-Harvest-o…   1/2
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            effective treatment for everything from arthritis to insomnia. To date, the only FDA-
            approved uses are for two rare forms of childhood epilepsy. With one of the only
            integrated “seed to consumer” platforms for participating in all phases of the industry
            from crop to value-added commercial and clinical product development, UPPR intends
            to be a leader in FDA cGMP (Current Good Manufacturing Practice) capabilities in the
            hemp and CBD marketplace.

            Cautionary Language Concerning Forward-Looking Statements
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            "anticipate", "believe", "estimate", "expect", "intend", and similar expressions, as they
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            Upper Street Marketing
            Completes the Acquisition of CBD
            Extraction Equipment
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             December 09, 2019 09:15 ET | Source: Upper Street Marketing Inc.

            SAN DIEGO, CA, Dec. 09, 2019 (GLOBE NEWSWIRE) -- via NEWMEDIAWIRE – Upper
            Street Marketing Inc. (OTC Market, trading symbol UPPR) and its wholly-owned
            subsidiary, Growing Springs Holding Corporation, has announced the completion of its
            acquiring 5 hemp biomass extraction modules, capable of extracting CBD isolates and
            distillates from hemp.

            In line with their vision to ensure a sustainable supply of raw materials for consumer-
            facing products, Hemp and CBD rm Upper Street Marketing (OTC: UPPR) recently
            announced the completion of a key agreement to acquire 5 biomass extraction
            modules from Portland-based supplier ICC Northwest.

            This will build and enhance UPPR’s ability to extract hemp biomass for its 2020
            expansion. Each of the 5 modules are expected to supply an additional 20,000 pounds
            of daily extraction capacity for UPPR’s biomass processing program, raising the overall
            extraction numbers to 100,000 pounds of hemp biomass each day.

            The modules, whose nancing has been successfully completed, are set to be delivered
            to UPPR in April 2020. The event is a signi cant milestone for the company’s plans to
            process and extract the 2,000,000 pounds of hemp biomass that it has stockpiled from
            its 2019 cultivation exercises via strategic Colorado hemp farms, and to process hemp
            biomass from other hemp growers.

            UPPR’s President Joseph Earle said, “This is a key win in his company’s bid to position
            itself as a transformative force in the bullish CBD market. This is an exciting moment
            for both us and for the still-nascent CBD industry because of the strategic importance
            of additional operational volume. The equipment and capacity building will bring us one
            step closer to realizing Upper Street Marketing’s ambitious vision to usher in an FDA
            cGMP compliant revolution the CBD consumables market.”

            The company reports that additional modules will be in action within 3-4 weeks of
            delivery. UPPR expects to push up production momentum to 100,000 pounds of hemp-
            biomass per-day by late May 2020. The capacity will be used to ramp up processing,
            production, and distribution of both CBD distillate as well as the company’s strategic
            foray into CBD-related products.
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https://www.globenewswire.com/news-release/2019/12/09/1957968/0/en/Upper-Street-Marketing-Completes-the-Acquisition-of-CBD-Extraction-E…   1/2
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            For Further Information Contact: Upper Street Marketing Inc.: Phone: (844) 535-UPPR
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                                                                                                                 EXHIBIT J
https://www.globenewswire.com/news-release/2019/12/09/1957968/0/en/Upper-Street-Marketing-Completes-the-Acquisition-of-CBD-Extraction-E…   2/2
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                       Ship date:                                                           Scheduled delivery:
                       Fri, 4/3/2020                                                        Mon, 4/6/2020 by 10:30
                       Randolf Katz                                                         am
                       Baker Hostetler LLP                                                  Pamela L. Johnston
                       Costa Mesa, CA 92626                                                 Foley & Landner LLP
                       US                                               Picked up
                                                                                            555 S FLOWER ST STE 3300
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                         Reference:                          009900.000010-07814

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   Dynamo Capital Corp. Announces Its
   Qualifying Transaction With A Leading
   CBD/Hemp Company
   Vancouver, British Columbia--(April 8, 2020) - Dynamo Capital Corp. (TSXV:DDD.P) ("Dynamo" or
   the “Company”) is pleased to announce that on April 3, 2020 it entered into a letter of intent (the “LOI”)
   with Linear Park Marketing, Inc. (“Linear”). According to the terms of the LOI, the Company and Linear
   will negotiate, prepare and execute a definitive agreement (the “Definitive Agreement”), pursuant to
   which the Company will acquire all of the issued and outstanding shares of Linear (the “Transaction”).
   The Transaction is not a non-arm’s length transaction, as such term is defined in Policy 2.4 – Capital
   Pool Companies of the Corporate Finance Manual of the TSX Venture Exchange (the “Exchange”)
   and it is therefore anticipated that approval of the shareholders of the Company in respect of the
   Transaction will not be required. The Transaction will constitute the Company’s qualifying transaction
   pursuant to the policies of the Exchange and is subject to regulatory approvals and other terms and
   conditions of the LOI.
   About Linear
   Linear has executed a definitive agreement to acquire (the “UPPR Acquisition”) the assets and stated
   liabilities of Upper Street Marketing Inc. (“UPPR”) (OTC:UPPR). UPPR is a vertically integrated
   company involved in industrial hemp genetics, cultivation, extraction and manufacturing of retail CBD
   related products. As of the date of this release, UPPR has raised approximately US$6 million in
   investment and, over the last twelve months, has grown and harvested 1,200 acres of hemp in the
   form of biomass to be sold and/or extracted and hemp seeds to be sold in the market. Concurrent with
   the Transaction, Linear intends to acquire (the “PrimaPharma Acquisition”) an 80 percent interest in
   PrimaPharma, Inc. (“PrimaPharma”), an FDA registered pharmaceutical manufacturing facility in San
   Diego, California. PrimaPharma will remain a separate company and continue developing FDA
   acceptable pharmaceutical standards (cGMP) for the growing, harvesting and extracting of CBD for
   the world market.
   For further information respecting Linear, please contact:
   Dan Koziol
   Chief Marketing Officer
   Telephone: 619-822-9321
   The Transaction
   Dynamo will issue to the shareholders of Linear on a pro rata basis 100,000,000 common shares of
   the Company (the “Consideration Shares”), at a deemed issue price of $0.40 per Consideration
   Share, representing aggregate deemed consideration of $40,000,000. On completion of the
   Transaction, the former shareholders of Linear will own a majority of the issued and outstanding shares
   of the Dynamo (then, the “Resulting Issuer”).
   Completion of the Transaction is subject to the following conditions, among others: (i) completion of
   the UPPR Acquisition and the PrimaPharma Acquisition; (ii) negotiation and execution of the Definitive
   Agreement prior to April 30, 2020; (iii) receipt of all requisite regulatory, stock exchange, court or
   governmental approvals, authorizations and consents; (iv) completion of due diligence to the
   satisfaction of both parties; (v) completion of the Private Placement (as defined below); and (vi) if
   applicable, each party having received all necessary approvals from their shareholders.




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   Private Placement
   In connection with the Transaction, it is anticipated that Dynamo will complete a non-brokered private
   placement (the “Private Placement”) of common shares of Dynamo, at the price of $0.40 per share,
   for minimum proceeds of $1,000,000.
   The Resulting Issuer
   Upon completion of the Transaction the Resulting Issuer is expected to change its name to “Linear
   Holdings Inc.” or such other name as determined by Linear and the Resulting Issuer is expected to be
   listed as a Tier 2 industrial issuer under the Exchange’s rules.
   Leadership Team
   At the closing of the Transaction, the board of directors will be comprised of the following four directors;
   Mark Livingston, George Callas, Dan Koziol and Geoff Balderson. Mark Livingston will serve as the
   Resulting Issuer’s chief executive officer, Dan Koziol will serve as the Resulting Issuer’s chief
   marketing officer and Kelly Lenahan will serve as the Resulting Issuer’s chief financial officer.
   Mark Livingston – Chief Executive Officer and Director of Resulting Issuer
   Mr. Livingston is experienced in operations, finance, strategic planning, start-up companies, company
   turnarounds, management information systems and planning for the succession of closely held
   businesses. He has served as Co-Founder and President of Surfing’s New Image, Inc., Founding
   Partner at accounting firm Campbell Boyd & Livingston, President & Chief Operating Officer at Motels
   of America, Inc., President at Road Runner Sports, Inc., CEO at Price Quest, Inc., President at
   Soluciones Technologias de S.A. de C.V., President & CFO at Belstar Systems Corp., President at
   Sims Snowboards and CEO at Access Properties Group, Inc. just to cite a few of his many endeavors.
   Mr. Livingston holds a Bachelor of Science degree in Business Administration from San Diego State
   University and is a Certified Public Accountant (non-practicing) in the State of California. In addition,
   Mr. Livingston has participated as a member of the Young Presidents Organization, as an advisory
   board member for Blanchard Training and Development, as a board member of The Planning Forum
   and as chairman of The Management Consulting Services committee for the San Diego chapter of the
   California Society of Certified Public Accountants.
   George Callas – Director of Resulting Issuer
   George Callas is a seasoned accounting, tax and financial services executive. After several years in
   public accounting, Mr. Callas formed his own CPA firm and developed an impressive list of clients. In
   1991, Mr. Callas founded Harvest Farms, Inc., a USDA food manufacturing company where he
   developed manufacturing processes for unique food products that were distributed nationally to
   numerous county, state and federal correction facilities, as well as various national retail outlets. With
   annual revenues in excess of $25 million, the company was merged in 2002 into a new entity, which
   went on to grow annual revenues to in excess of $100 million by 2007 and be acquired by a private
   equity investor. Since 2009, Mr. Callas has been an active participant in various start-up and growth
   companies.
   Mr. Callas holds a Bachelor of Science in Business from San Diego State University and is a Retired
   Certified Public Accountant.
   Dan Koziol – Chief Marketing Officer and Director of Resulting Issuer
   Dan Koziol draws his experience in developing fast-moving consumer goods (FMCG) businesses
   throughout international markets in Asia-Pacific, North America, and Europe. His experience ranges
   from brand and marketing management in blue chip companies in Australia as well as a senior market
   builder as General Manager Sales & Marketing at Sanitarium UK, and as Marketing Director of So
   Good International (UK), a Dupont Life Sciences company. In 1996 Mr. Koziol took the Australian dairy




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   alternative brand So Good into international markets and developed ingredient licensing to market
   leadership in North America and Europe while incubating other dairy alternative companies and
   sponsoring clinical research as chairman of the International Soy Advisory Board. In 2001, Mr. Koziol
   founded The Big Idea, a market development agency in London's West End where he was CEO for
   eight years. During this time Mr. Koziol established and grew major food brands from Australia, South
   Africa, and New Zealand and represented the Australian government initiative in the EU partnering
   with mass grocery retailers under The National Food Industry Strategy. In 2010, while serving as
   Senior Vice President of Sales and Marketing with TreeFrog Developments Inc., Mr. Koziol grew the
   company to over US$200 million in sales. In October 2013 Dan founded Crowd & Company,
   developing companies and products by providing a full management, marketing and sales
   infrastructure. Mr. Koziol holds a Master of Business Administration from the University of Technology,
   Sydney.
   Geoff Balderson – Director of Resulting Issuer
   Geoff Balderson has over 20 years of capital market experience. Mr. Balderson is the president of
   Harmony Corporate Services Ltd., and leads a team that provides bookkeeping, accounting, filing and
   corporate secretarial services to publicly listed companies. Mr. Balderson is an officer and director of
   various TSX Venture listed companies. Mr. Balderson is a former Investment Advisor with two
   Canadian Securities dealers, and a graduate of the University of British Columbia.
   Kelly Lenahan – Chief Financial Officer of Resulting Issuer
   Kelly Lenahan is a result-oriented accounting professional with over 20 years’ experience working in
   many different industries. Ms. Lenahan is well versed working with companies of different sizes, from
   start-ups to companies with over 800 employees. She has managed many aspects from accounting
   set up, income tax schedules, payroll, customer billing, general ledger thru producing financial
   statements, cashflow management, budget and projections, managing cap tables, negotiating
   contracts, international banking among many other areas. Ms. Lenahan has assisted executives in
   business planning and development as well as all areas of setting up an office or storefront. She has
   many years of experience in human resources and employee relations as well as training in several
   different accounting and payroll platforms. Kelly currently manages the accounting for clients in the
   biotech/pharma industry, software development and the medical/dental industry.

   Control Persons
   Following the Transaction, the Company will not have a control person (as such term is defined in the
   Exchange’s rules).
   Sponsorship
   The parties are proposing to apply to the Exchange for an exemption from applicable sponsorship
   requirements.
   Other Matters
   A comprehensive press release with further particulars relating to the Transaction, including, without
   limitation, information respecting Linear’s business, the Resulting Issuer’s leadership team and the
   Private Placement, will follow in accordance with the policies of the Exchange.
   Trading in the common shares of the Company has been halted in accordance with the policies of the
   Exchange. Trading will resume upon the successful closing or abandonment of the Transaction.
   A filing statement respecting Linear and the Transaction will be prepared and filed in accordance with
   the policies of the Exchange.
   Linear has supplied all information contained in this news release with respect to Linear and Dynamo
   and its directors and officers have relied on Linear for any such information.



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   This press release is not an offer of securities for sale in the United States. The securities described
   in this press release have not been registered under the U.S. Securities Act of 1933, as amended,
   and may not be offered or sold in the United States or to, or for the account or benefit of, U.S. persons
   (as defined in Regulation S under the U.S. Securities Act of 1933, as amended) absent registration or
   an exemption from registration. This press release shall not constitute an offer to sell or a solicitation
   of an offer to buy nor shall there be any sale of the securities in any jurisdiction where such offer,
   solicitation, or sale would be unlawful.
   Completion of the Transaction is subject to a number of conditions, including but not limited to,
   Exchange acceptance and if applicable pursuant to Exchange Requirements, majority of the minority
   shareholder approval. Where applicable, the Transaction cannot close until the required shareholder
   approval is obtained. There can be no assurance that the transaction will be completed as proposed
   or at all.
   Investors are cautioned that, except as disclosed in the management information circular or filing
   statement to be prepared in connection with the Transaction, any information released or received
   with respect to the Transaction may not be accurate or complete and should not be relied upon.
   Trading in the securities of a capital pool company should be considered highly speculative.
   The TSX Venture Exchange Inc. has in no way passed upon the merits of the proposed Transaction
   and has neither approved nor disapproved the contents of this press release
   Neither the TSX Venture Exchange nor its Regulation Services Provider (as that term is defined
   in the policies of the TSX Venture Exchange) accepts responsibility for the adequacy or
   accuracy of this release.
   About Dynamo
   Dynamo is a Capital Pool Company created to identify and evaluate potential acquisitions of
   commercially viable businesses and assets that have the potential to generate profits and add
   shareholder value. Except as specifically contemplated in the CPC policy of the Exchange, until the
   completion of its qualifying transaction, Dynamo will not carry on business, other than the identification
   and evaluation of companies, businesses or assets with a view to completing a proposed qualifying
   transaction.
   For further information respecting Dynamo, please contact:
   Geoff Balderson
   Chief Executive Officer and Chief Financial Officer
   Telephone: 604-602-0001
   FORWARD-LOOKING STATEMENTS
   Certain statements in this release are forward-looking statements, which reflect the expectations of
   management regarding the Transaction, the Company’s and Linear’s future business plans. Readers
   of this press release should be advised and aware that the Transaction may not occur. These
   statements and other statements contained in this press release that are not purely historical fact are
   forward-looking statements, within the meaning of the Private Securities Litigation Reform Act of 1995,
   that are based on management’s beliefs, certain assumptions and current expectations. Wherever
   possible, words such as “may”, “will”, “should”, “could”, “expect”, “plan”, “intend”, “anticipate”, “believe”,
   “estimate”, “predict” or “potential” or the negative or other variations of these words, or similar words
   or phrases about the Company’s or Linear’s market opportunities, future plans and performances,
   objectives and expectations with respect to future operations and development opportunities have
   been used to identify these forward-looking statements. Forward-looking statements in this news
   release include statements relating to the Transaction and its terms. Forward-looking statements
   involve significant risk, uncertainties and assumptions. Many factors could cause actual results,
   performance or achievements to differ materially from the results discussed or implied in the forward-




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   looking statements. These factors should be considered carefully and readers should not place undue
   reliance on the forward-looking statements. Although the forward-looking statements contained in this
   press release are based upon what management believes to be reasonable assumptions, the
   Company cannot assure readers that actual results will be consistent with these forward-looking
   statements. These forward-looking statements are made as of the date of this press release, and the
   Company assumes no obligation to update or revise them to reflect new events or circumstances,
   except as required by law.




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BUSINESS EXPANSION HIGHLIGHTS
Using the unique business model of management contracts and royalty agreements,
UPPR has created the following businesses that we manage and are paid royalties and
management fees from:

        Growing Springs/Upper Street is under contract to cultivate 1,200 acres of hemp for 2019 and beyond. UPPR
 1      owns and operates a 100,000 square foot facility for processing Cannabidiol or CBD from the hemp, in Center,
        Colorado. UPPR will process over 2,000,000 pounds of bio-mass in 2019 and up to 4,000,000 pounds of bio-
        mass in 2020. Using current pricing for CBD extract this could generate up to a target of $250,000,000 of
        revenues for in 2019 and a target of up to $400,000,000 of revenues in 2020. The estimated costs for growing
        the hemp and processing of the CBD oils is approximately 12% of the revenues.

        In order to facilitate existing extraction and specialty product needs, UPPR has leased a 12,000 licensed CBD
 2      laboratory processing facility in San Diego, CA. This facility borders UPPR’s collaborative pharmaceutical
        partner, PrimaPharma Inc.

        UPPR is also negotiating an additional 7,000 acres of hemp for cultivation in Colorado and other states for 2020
 3      - 2024.


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A DIVERSIFIED OFFERING OF CANNABIS-BASED SERVICES
High quality products and services with repeatable and consistent standards and predictable results


                                                                                 Less Inputs
               Design & Planning                                                 Our Liquid Conversion Technology
        We assist commercial agricultural                                        (LCT) processes dramatically
         customers in designing systems                                          reduces amounts of fertilizer and
                and planning mass hemp                                           ancillary chemicals needed in
                             cultivation.                                        agricultural operations.

                   HIGHER YIELDS                                                 No Run-Off
                We significantly improve                                         We reduce or eliminate
           agricultural crop performance                                         agricultural run-off.
                               and yields.


                Superior Genetics
            Growing Springs has secured                                          GHSC - Exclusivity
             proprietary and unique AAA                                          Our LCT water systems are
         cannabis and hemp genetics and                                          exclusive to the cannabis and
               seed banks as a barrier to                                        hemp industry.
                 determined competitors


                                                                                                     EXHIBIT M       2019
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